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                       EXHIBIT B
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                        SETTLEMENT AND RELEASE AGREEMENT


                Flextronics Corporation (“FC”), Flextronics Telecom Systems Ltd (“FTS”) and

the affiliates of FC and FTS that are signatories hereto, on behalf of themselves and their

respective Affiliates (as defined below) (collectively, “Flextronics”), and (i) Nortel Networks

Limited (“NNL”) and its Canadian affiliates that have filed an application under the Companies’

Creditors Arrangement Act (the “CCAA”), (ii) Nortel Networks Inc. (“NNI”) and its US debtor

affiliates, (iii) the companies listed on Schedule A hereto (collectively the “EMEA Entities”; and

(i), (ii) and (iii) collectively, “Nortel”)), and (iv) the joint administrators acting on behalf of the

EMEA Entities also listed on Schedule A hereto (the “Joint Administrators”) (Flextronics, Nortel

and the Joint Administrators are collectively referred to herein as the “Parties”) hereby enter into

this agreement (the “Settlement and Release Agreement”), on the terms and conditions set forth

below:

                WHEREAS, NNL and Flextronics are parties to a Master Contract

Manufacturing Services Agreement, dated as of September 30, 2003, between NNL and

Flextronics Corporation (f/k/a Solectron Corporation) (including any ancillary agreements

incorporated by reference thereunder, including without limitation certain Virtual Systems House

Agreements (“VSHAs”) and purchase orders, and as amended by an amending agreement, dated

June 18, 2004; the “SLR MCMSA”), and an Amended and Restated Master Contract

Manufacturing Services Agreement, dated as of June 29, 2004, between NNL and Flextronics

Telecom Systems Ltd. (including any ancillary agreements incorporated by reference thereunder,

including without limitation certain VSHAs and purchase orders, as amended from time to time

by the following agreements: (i) the first amending agreement, dated November 1, 2004; (ii) the

second amending agreement, dated May 8, 2006; (iii) a memorandum of understanding, dated


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October 13, 2006; and (iv) the third amending agreement, dated March 31, 2008, the

“Flextronics MCMSA,” and together with the SLR MCMSA, as amended, the “MCMSAs”).

                 WHEREAS, on January 13, 2009, NNL and Flextronics entered into an

agreement (the “Amending Agreement”) which, among other things, amended the contractual

relationship, as set forth in the MCMSAs, in a variety of ways, including: (i) NNL agreed to

purchase from Flextronics US$120,000,000 of inventory, as identified in Schedule A of the

Amending Agreement, via four payments over an approximately six-month period; (ii) NNL

agreed to issue, on a quarterly basis, purchase orders to Flextronics for certain inventory defined

therein as Quarterly E&O; (iii) NNL and Flextronics agreed to treatment of certain existing plans

of record for transfers of operations; and (iv) NNL and Flextronics modified NNL’s credit terms

to provide for payments on a weekly basis;

                 WHEREAS, on or about January 14, 2009 (the “Petition Date”)1, (i) NNL and

certain of its Canadian Affiliates filed an application under and were granted certain initial

creditor protection pursuant to the CCAA in Canada to facilitate a comprehensive business and

financial restructuring (the “CCAA Proceedings”) pursuant to the terms of an initial order of the

Ontario Superior Court of Justice (Commercial List) (the “Canadian Court”), as the same has

been and may be amended and restated from time to time, (ii) NNI and certain of its U.S.

subsidiaries (the “Debtors”)2 commenced bankruptcy cases (the “US Bankruptcy Cases”) by

filing voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the “US

Bankruptcy Court” and together with the Canadian Court, the “Courts”), and (iii) the High Court

1
 The Petition Date shall also refer, only in the case of Nortel Networks (CALA) Inc., to July 14, 2009.
2
 The Debtors also include Nortel Networks (CALA) Inc., which subsequently filed a voluntary chapter 11 petition in
the US Bankruptcy Court on July 14, 2009, and the US Bankruptcy Cases include the Chapter 11 case of Nortel
Networks (CALA) Inc.


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of Justice in England placed nineteen of Nortel’s European affiliates, including the EMEA

Entities, into administration under the control of individuals from Ernst & Young LLC (the

“EMEA Proceedings”, and together with the CCAA Proceedings and the US Bankruptcy Cases,

the “Proceedings”);

              WHEREAS, Flextronics’ business relationship with Nortel is primarily governed

by the MCMSAs;

              WHEREAS, subsequent to the commencement of the Proceedings, certain

disputes emerged between Flextronics and Nortel regarding the proper interpretation of the

Amending Agreement and certain other matters, and the resolution of such disputes was

memorialized in a Settlement Agreement (the “Settlement Agreement”) and related Side Letter

(the “Side Letter”), each dated as of May 22, 2009;

              WHEREAS, the Amending Agreement, the Settlement Agreement and the Side

Letter have been approved by the Canadian Court in the CCAA Proceedings, and the Settlement

Agreement and Side Letter have been approved by the US Bankruptcy Court in the US

Bankruptcy Cases;

              WHEREAS, the Settlement Agreement provides, among other things, that “the

termination of the SLR MCMSA, pursuant to the termination notice delivered by Flextronics

dated January 12, 2009, shall be effective on December 12, 2009”;

              WHEREAS, the Flextronics MCMSA remains in effect and no termination

notices have been given thereunder;

              WHEREAS, Nortel has not repudiated or moved to assume or reject either of the

MCMSAs to date;




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               WHEREAS, the MCMSAs establish a complex manufacturing relationship by

which, in essence, Nortel has “outsourced” its hardware design, manufacturing and supply

functions to Flextronics;

               WHEREAS, in general terms (subject to the actual terms of the MCMSAs),

pursuant to this complex relationship, NNL and certain Nortel entities issue 12-month

nonbinding “forecasts” of orders for goods and services expected to be placed by NNL and such

other Nortel entities in the coming year, which forecasts Flextronics uses as a basis to place

orders for materials from third parties and to otherwise manage its manufacturing process to

meet Nortel’s expected demand (“Forecasts”);

               WHEREAS, certain Nortel entities place monthly orders for finished goods to

Flextronics, which, following acceptance by Flextronics, obligate Flextronics to ship goods in

accordance with the accepted purchase orders;

               WHEREAS, on July 20, 2009, the Debtors filed the Debtors’ Motion For Orders

(I) (A) Authorizing Entry Into the Asset and Share Sale Agreement, (B) Authorizing and

Approving the Bidding Procedures, (C) Authorizing and Approving a Break-Up Fee and

Expense Reimbursement, (D) Approving the Notice Procedures, (E) Approving the Assumption

and Assignment Procedures, (F) Authorizing the Filing of Certain Documents Under Seal and

(G) Setting a Date For the Sale Hearing, and (II) Authorizing and Approving (A) the Sale of

Certain Assets of, and Equity Interests In, Debtors’ Enterprise Solutions Business, (B) the

Assumption and Assignment of Certain Contracts and Leases and (C) the Assumption and

Sublease of Certain Leases [Docket No. 1131] (the “US Enterprise Sale Motion”) in the US

Bankruptcy Court;




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               WHEREAS, on September 4, 2009, Flextronics filed a timely limited objection

and reservation of rights with respect to the US Enterprise Sale Motion (the “Enterprise

Objection”);

               WHEREAS, on September 15, 2009, Nortel Networks Corporation, NNL, Nortel

Networks Technology Corporation, Nortel Networks Global Corporation, and Nortel Networks

International Corporation (collectively, the “Applicants”) filed a motion for the relief set forth in

the Applicants’ Notice of Motion, including approval to sell assets and shares in Nortel’s

Enterprise Solutions Business pursuant to an amended and restated asset and share sale

agreement, dated as of September 14, 2009 (the “Canadian Enterprise Sale Motion”) in the

Canadian Court;

               WHEREAS, on September 16, 2009, the US Bankruptcy Court entered the Order

Authorizing and Approving (A) the Sale of Certain Assets of, and Equity Interests in, Debtors’

Enterprise Solutions Business, (B) the Assumption and Assignment of Certain Contracts and

Leases and (C) the Assumption and Sublease of Certain Leases (the “US Enterprise Sale Order”)

which, inter alia, granted the relief sought in the US Enterprise Sale Motion and contained in

paragraph 28 thereof a resolution of the Enterprise Objection;

               WHEREAS, on September 17, 2009, the Canadian Court entered the Approval

and Vesting Order (Enterprise Solutions Business) (the “Canadian Enterprise Sale Order,”

together with the US Enterprise Sale Order, the “Enterprise Sale Orders”), which, inter alia,

granted the relief sought in the Canadian Enterprise Sale Motion and contained in paragraph 11

thereof a resolution of the Enterprise Objection;

               WHEREAS, Flextronics and certain of the Nortel entities have certain

outstanding amounts owing between them and their various Affiliates, where “Affiliates” means


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any entity that controls, is controlled by or is under common control with any of the Parties,

where “control” means ownership of more than 10% of the voting equity of an entity or the

ability to otherwise direct the management of an entity;

               WHEREAS, while Nortel does not admit the validity of any objection

Flextronics has asserted to date in the Proceedings, or that it could assert with respect to any

prior, pending or future sale of a business or product line or any other assets or shares of Nortel

(a “Business”) to one or more third parties (a “Purchaser”) (any such sale, whether by asset sale,

merger, operation of law or otherwise, a “Divestiture”), including without limitation to the

treatment of the MCMSAs in connection with any such Divestiture, the Parties wish to resolve

certain matters as set forth in this Settlement and Release Agreement, including to (i) resolve the

Enterprise Objection, (ii) fully and finally resolve the proofs of claim filed by Flextronics against

Nortel and the Released Claims (as defined in Section 7 of this Settlement and Release

Agreement), including the Post-Petition Ordinary Course Contractual Claims (as defined in

Section 1 of this Settlement and Release Agreement), except as otherwise expressly stated

herein, (iii) ensure Flextronics’ cooperation with regard to pending and future Divestitures, (iv)

ensure the provision by Flextronics of a supply contract with the Purchaser in connection with

any future Divestiture on the terms described herein and (v) provide for the Parties’ performance

of their postpetition obligations under the MCMSAs until termination in accordance with this

Settlement and Release Agreement;

               WHEREAS, nothing in this Settlement and Release Agreement shall cause any

of the EMEA Entities, the Joint Administrators or any other Nortel entity to assume any

obligations under the MCMSAs or any other agreement to which such EMEA Entity, Joint

Administrator or other Nortel entity is not a signatory prior to the date hereof; and


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               WHEREAS, the Parties have been and are currently represented by counsel at all

times during the course of the settlement negotiations culminating in this Settlement and Release

Agreement.

               NOW THEREFORE, in consideration of the foregoing and in consideration of

the terms, conditions, mutual agreements and covenants set forth herein, and other good and

valuable consideration, the receipt and sufficiency of which the Parties acknowledge, and in

order to avoid the expense, delay and uncertainty associated with further litigation relating to the

Enterprise Objection or any prior, pending or future Divestiture and in order to resolve certain

claims and the other matters addressed herein, it is hereby:

               AGREED, by and between the Parties hereto, as follows:

             1.    Payment Obligations. In full and final settlement of the Released Claims,

subject to the terms and conditions set forth below, NNI shall pay to Flextronics on behalf of

Nortel (in accordance with a side agreement among the Nortel parties hereto to which

Flextronics is not a party) the Payment Obligation (as defined in Schedule B of this Settlement

and Release Agreement) set out in Schedule B of this Settlement and Release Agreement, at the

times set forth in Schedule B to this Settlement and Release Agreement. The Payment

Obligation shall constitute an administrative expense pursuant to Section 503(b) of the

Bankruptcy Code against NNI in its US Bankruptcy Case which must be paid in accordance

with the terms set forth in Schedule B of this Settlement and Release Agreement. In addition, in

full and final settlement of the portion of the claims included in the US Proofs of Claim and the

Canadian Proofs of Claim (as such terms are defined in section 7 herein) that the Parties hereby

agree are valid obligations arising after the Petition Date owed by Nortel to Flextronics, and

which claims are identified in Schedule C to this Settlement and Release Agreement (the “Post-


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Petition Ordinary Contractual Claims”), subject to the terms and conditions set forth below,

certain Nortel entities shall pay to Flextronics the amounts set out in Schedule C of this

Settlement and Release Agreement in the ordinary course of business, which amounts the Parties

acknowledge are undisputed and shall be paid not later than December 15, 2009.

Notwithstanding any other provision of this Settlement and Release Agreement or any other

agreement among the parties, the obligation of each Nortel entity to make the payment next to its

name in Schedule C of this Settlement and Release Agreement is a several obligation of such

entity and nothing in this Settlement and Release Agreement or any other agreement among the

parties shall be construed to cause the obligations set out in Schedule C to be a joint obligation of

any Nortel entity, and Flextronics expressly agrees hereby that the liability of each of the Nortel

entities to make the payments set out next to its name is limited to the amount of such payment

for such entity and that no other Nortel entity has any liability to make any of the payments set

out therein.

               2.      Post-Filing Performance.

                    (a) The Parties hereby acknowledge and agree that, except as otherwise expressly

set forth in section 4(a)(iv) of this Settlement and Release Agreement, the Parties shall perform

in good faith in the ordinary course of business in accordance with the terms of the MCMSAs, as

amended by the Amending Agreement, the Settlement Agreement or the Side Letter (including

without limitation Nortel’s obligations to provide reasonable Forecasts of expected orders

consistent with historical business practices between the Parties, to issue purchase orders

consistent with historical business practices and to make timely payment of invoices with respect

to deliveries made in accordance with such purchase orders, and Flextronics’ obligations to

purchase inventory and to fulfill purchase orders), without any claim or demand for adequate


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assurances, changes in payment terms or deposits or any other credit protection, until termination

pursuant to section 5 of this Settlement and Release Agreement.

               (b) With respect to inventory that Flextronics identifies as subject to a post-

petition purchase obligation by Nortel, Flextronics hereby agrees that (i) Nortel may reasonably

request information regarding any such inventory, (ii) Flextronics shall supply information

pursuant to and shall reasonably cooperate with such request and (iii) Nortel will be afforded

reasonable access to inspect such inventory, in order for Nortel to determine (which

determination shall be made in writing to Flextronics within 30 days of the date Flextronics

identifies such inventory as subject to a post-petition purchase obligation by Nortel) whether

such inventory is defective or does not comply with the applicable specifications in accordance

with the MCMSAs, was not acquired using prudent purchasing practices in accordance with the

MCMSAs or was previously paid for by Nortel under the Amending Agreement or the

Settlement Agreement or otherwise, for which the obligation to pay has become an obligation of

a Purchaser in connection with a Divestiture, or for any other reason is not an unsatisifed post-

petition purchase obligation. For the avoidance of doubt, this section shall not apply to any

obligations released under this Settlement and Release Agreement.

               (c) With respect to inventory owned by Nortel that Flextronics or a third-party

warehousing provider holds on consignment as of the Effective Date (the “Consigned

Inventory”), Flextronics agrees to buy from such Consigned Inventory, at the lesser of (i) the

price paid by Nortel to Flextronics for such Consigned Inventory or (ii) the then-prevailing

market price at the time Flextronics purchases the Consigned Inventory, any inventory that

Flextronics needs in order to fulfill a purchase order that Flextronics receives from any third

party (including, but not limited to, a Purchaser in connection with any of the Divestitures) prior


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to Flextronics purchasing any such inventory from any of its suppliers, provided, however, that

Flextronics shall be permitted to consume inventory purchased pursuant to an existing non-

cancelable purchase order with a third party prior to purchasing Consigned Inventory. For the

avoidance of doubt, the foregoing sentence does not limit the ability of Flextronics to sell any

inventory that Flextronics owns as of the Effective Date.

               (d) The Parties hereby acknowledge and agree that, notwithstanding Section 8 of

the Side Letter, and except as otherwise expressly set forth in this Settlement and Release

Agreement or as agreed to in advance and in writing by the Parties in the ordinary course of

business, the Parties shall not hold or offset any past, present or future payables, claims or other

amounts that they or any of their Affiliates now owe or in the future may owe the other Party or

any of its Affiliates (including, without limitation, any amounts owed by the Parties or any of

their Affiliates under the MCMSAs or any other agreement among any of the Parties that are not

part of the Released Claims) against any past, present or future payables, claims or other

amounts that are now owed or may in the future be owed to them or their Affiliates by the other

Party or any of its Affiliates, and the Parties agree that all such amounts shall be paid in

accordance with the terms of the relevant agreement. For the avoidance of doubt and without

limiting the foregoing, the Parties agree that (i) the Parties will not hold or offset any past,

present or future payables, claims or other amounts that they or any of their Affiliates may now

owe or in the future may owe to the other Party or any of its Affiliates or have a past, present or

future right of set-off with respect to the Pension Claims (as defined in section 6 below) and (ii)

any right of recovery from Nortel with respect to the Pension Claims is restricted to any

distribution to unsecured creditors under any Plan of Arrangement in the CCAA Proceedings, or




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such rights as Flextronics may have, if any, as against the Nortel Networks Health & Welfare

Trust.

             3.    The Enterprise Sale Orders.

               (a) The Enterprise Sale Orders as they relate to the resolution of the Enterprise

Objection (paragraph 28 of the US Enterprise Sale Order and paragraph 11 of the Canadian

Enterprise Sale Order) shall remain effective as set forth therein; provided that Flextronics and

Nortel agree that the obligations under section (vi) of paragraph 28 of the US Enterprise Sale

Order and paragraph 11 of the Canadian Enterprise Sale Order are satisfied as follows:

                   (i)     Flextronics shall not assert, or shall be deemed to have withdrawn, any

rights to adequate protection or similar rights related to the transfer of equipment owned by

Nortel in connection with the sale of Nortel’s Enterprise Solutions Business as authorized by the

Courts on September 16 and 17, 2009;

                   (ii)    Flextronics and Nortel agree to effect the orderly transfer of the

equipment in Flextronics’ possession owned by Nortel and proposed to be transferred to the

Purchaser of the Enterprise Solutions Business, which equipment has been identified in writing

and agreed to between the Parties as of November 5, 2009. Nortel or the Purchaser shall provide

Flextronics with written notification of its intent to transfer such equipment. Within 30 days of

such written notification, Flextronics shall provide Nortel or the Purchaser, as appropriate, in

writing, the estimated documented costs directly related to such transfer. For the avoidance of

doubt, Nortel or the Purchaser, as appropriate and as agreed to between Nortel and Flextronics

(in advance of any such transfer), shall bear the reasonable, documented costs directly related to

any such transfer, including costs of storage, insurance and transportation directly related to any

such transfer, any depreciation charge-backs and any taxes including sales, use, VAT and


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transfer taxes or any levies, customs duties or similar governmental charges of any kind, each of

which costs shall be excluded from the Flextronics Released Claims (defined below), but shall

not include any formal or informal requests or demands for adequate protection payments or any

similar payments or protections.

               (b) Nothing herein shall be construed as an amendment or restatement of the

Enterprise Sale Orders. Flextronics further agrees that it shall not and will not file or assert any

formal or informal objection or take any other action in opposition to any motion or other request

by Nortel for relief to effect the sale of the Enterprise Solutions Business provided such relief is

not inconsistent with section 3 of this Settlement and Release Agreement.

             4.    Future Divestitures.

               (a) In connection with any proposed future Divestiture, which for the purposes of

this section 4(a) excludes (x) the sale of Nortel’s Enterprise Solutions Business pursuant to the

agreement approved by the Enterprise Sale Orders, (y) the sale of Nortel’s CDMA and LTE

Access Business pursuant to the sale agreement approved in the Proceedings on July 28, 2009,

provided that each of (x) and (y) shall not be excluded if such sale is not consummated in

accordance with the approved applicable sale agreement, or in accordance with such applicable

sale agreement as modified or amended, and (z) the sale of Nortel’s Layer 4-7 business pursuant

to the sale agreement approved in the U.S. Proceedings on March 26, 2009 and Canadian

Proceedings on April 7, 2009:

                   (i)     Flextronics agrees that at the request of Nortel in connection with such

Divestiture, it will conduct good faith negotiations with a proposed Purchaser for the purpose of

entering into a direct agreement by and among Flextronics, such Purchaser and any of such




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Purchaser’s designated Affiliates for the supply of products and services related to the applicable

Business being acquired on market competitive terms and conditions; and

                   (ii)    Without limiting Flextronics’ obligation in section 4(a)(i) of this

Settlement and Release Agreement, if by the earliest of (x) 45 days after the conclusion of the

auction of the Business pursuant to bidding procedures approved by the Courts, (y) 10 days after

the entry of orders approving such Divestiture by the Courts (or if such orders are not entered on

the same day, 10 days after the entry of the earlier order) and (z) 30 days prior to the closing of

such Divestiture (as determined by Nortel), Flextronics and the Purchaser have not reached a

direct agreement as described in section 4(a)(i) of this Settlement and Release Agreement,

Flextronics hereby consents to, at the request of Nortel, enter into and execute an agreement with

the Purchaser, which agreement shall be effective upon the closing of such Divestiture, that

contains terms and conditions identical (aside from nonmaterial conforming changes) to the

terms and conditions (including, but not limited to, payment and pricing terms) existing under

the MCMSAs, as such terms and conditions relate to the Business subject to such Divestiture, as

of January 12, 2009, provided that (A) for the avoidance of doubt, such agreement shall not

include the terms of the Amending Agreement except as set forth in section 4(a)(ii)(B) of this

Settlement and Release Agreement, (B) such agreement shall include the Quarterly E&O

obligations set forth in section 4 of the Amending Agreement and section 5 of the Settlement

Agreement, (C) at Purchaser’s option, such agreement shall provide that Purchaser and

Flextronics shall agree not to exercise their respective rights to deliver a notice for termination

for convenience (as provided for in section 1.5 of the Flextronics MCMSA) for a period of three

(3) months after the closing of such Divestiture; and (D) if Flextronics determines in good faith

that the Purchaser’s creditworthiness is insufficient to support such pre-Amending Agreement


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payment terms, Flextronics shall be permitted to modify such payment terms (but not the pricing

terms), provided that such modified payment terms shall be no worse than the payment terms

received by any Flextronics customer whose creditworthiness is substantially similar to the

Purchaser and shall not include demands for letters of credit, deposits or other similar creditor

protections. In connection with the foregoing, upon the request of Nortel, Flextronics shall

assess any potential Purchaser’s creditworthiness and provide Nortel with the payment terms that

Flextronics deems acceptable for such Purchaser in writing within two (2) business days of

Nortel’s request for such information, provided that (1) Nortel provides Flextronics,

contemporaneously with such request for payment terms, all material nonpublic information

provided by Purchaser to Nortel related to such Purchaser’s creditworthiness, to the extent

authorized by Purchaser, and (2) Nortel reasonably cooperates with Flextronics in connection

with any of Flextronics’ requests for further information regarding the Purchaser; and

                   (iii)   Nortel agrees, except to the extent provided above in this section 4,

that the MCMSAs and any of Nortel’s contractual rights thereunder as they relate to such

Divestiture shall not be assigned to the Purchaser in connection with such Divestiture;

                   (iv)    Without limiting the obligation of Flextronics described in section 2(c)

of this Settlement and Release Agreement, Nortel and Flextronics agree to conduct good faith

negotiations with the Purchaser regarding a three-way inventory purchase agreement in

connection with such Divestiture as set forth in section 3 of the Settlement Agreement

(notwithstanding the limitation therein with respect to Divestitures where the gross proceeds are

less than $100 million); provided that notwithstanding the foregoing and section 3(c) of the

Settlement Agreement, in connection with such Divestiture, Nortel shall not be responsible or

otherwise required to pay for any unconsumed portion of such Purchaser’s Forecast (as defined


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in the Settlement Agreement) or any other Quarterly E&O liability arising after the date of

closing related to the Business subject to such Divestiture and Flextronics waives its right to seek

payment from Nortel for such amounts; and

                   (v)     At Nortel’s request, within 30 days of execution of a Divestiture

agreement, or a later date determined by Nortel, Flextronics and Nortel shall identify, in writing,

any equipment in Flextronics’ possession owned by or reserved for Nortel and proposed to be

transferred to the Purchaser in such Divestiture, and shall promptly meet and confer to reconcile

any potential discrepancies. Flextronics and Nortel agree to effect the orderly transfer of such

equipment in accordance with the procedures set forth under the MCMSAs, as modified by the

provisions of this section 4(a)(v). Nortel or the Purchaser shall provide Flextronics with written

notification of its intent to transfer such equipment. Within 30 days of such written notification,

Flextronics shall provide Nortel or the Purchaser, as appropriate, in writing, the estimated

documented costs directly related to such transfer. For the avoidance of doubt, Nortel or the

Purchaser, as appropriate and as agreed to between Nortel and Flextronics (in advance of any

such transfer), shall bear the reasonable, documented costs directly related to any such transfer,

including costs of storage, insurance and transportation directly related to any such transfer, any

depreciation charge-backs and any taxes including sales, use, VAT and transfer taxes or any

levies, customs duties or similar governmental charges of any kind, each of which costs shall be

excluded from the Flextronics Released Claims (defined below). Flextronics further agrees that

it shall not make any formal or informal requests or demands for adequate protection payments

or any similar payments or protections in connection with equipment proposed to be transferred

to the Purchaser in such Divestiture; and




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                   (vi)    Upon closing of such Divestiture, Nortel shall cease placing Forecasts

or purchase orders under the MCMSAs for products or services exclusively used in the Business

subject to such Divestiture, provided that Nortel, in its capacity as transition service provider to

the Purchaser, shall not be prohibited from providing administrative services to the Purchaser,

including, but not limited to placing Forecasts or purchase orders on behalf of the Purchaser, and

Nortel shall not be (A) restricted from placing Forecasts or purchase orders for any portion of the

business not subject to such Divestiture or (B) released from any liability for such Forecasts or

purchase orders referred to in (A) above.

               (b) Except as otherwise provided in section 3(b) herein, Flextronics agrees that it

shall not file with any court or assert in any proceeding or otherwise any formal or informal

objection or take any other action in opposition to or with the intention of frustrating any

Divestiture. Flextronics further agrees that it shall not seek from Nortel or the Purchaser any

remedy, payment, or any modification of the MCMSAs as a result of any such Divestiture,

including without limitation any claim or demand for adequate assurances, changes in payment

terms, deposits or any other credit protection, cure costs, or any request or demand for the

termination, assumption, rejection or repudiation of the MCMSAs or any part thereof.

Flextronics further agrees that it shall not assert any claim or seek any payment or other remedy

from a Purchaser in compensation for the Released Claims or any other right or claim waived or

compromised by Flextronics pursuant to this Settlement and Release Agreement.

             5.    Termination of MCMSAs. The Parties acknowledge and agree that unless

otherwise agreed between the Parties: (i) without limiting any of Flextronics’ or Nortel’s

respective rights to terminate the Flextronics MCMSA upon a material breach by the other Party,

the Parties shall not seek to reject, repudiate or otherwise cancel or terminate the Flextronics


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MCMSA pursuant to the processes applicable in the Proceedings except upon 210 days notice to

the other Party (or such shorter period as the Parties may agree), during which period the Parties

shall continue to perform their obligations under the Flextronics MCMSA in the ordinary course

of business, and the Parties agree that if such notice is provided they will not deliver a notice for

termination for convenience that would become effective prior to such planned rejection,

repudiation, cancellation or termination date; and (ii) Flextronics and Nortel agree to not exercise

their respective rights to deliver a notice for termination for convenience pursuant to section 1.5

of the Flextronics MCMSA for the period through December 31, 2010, which for the avoidance

of doubt shall govern (y) the production of the SLR Enterprise Products (as defined in the

ERS8K Manufacturing Agreement, defined below) pursuant to the ERS8K Manufacturing

Agreement between and among NNL, NNI, FC and FTS (the “ERS8K MA”), provided that the

Parties shall not be bound by this Section 5(ii)(y) until each of the parties to the ERS8K MA

execute the agreed form ERS8K MA attached hereto as Exhibit 1, and provided further that any

modifications to the agreed form ERS8K MA requested prior to the execution of such agreed

form ERS8K MA shall be subject to the reasonable approval of the parties to the ERS8K MA,

and (z) the production of the SLR MEN Products (as defined in the MEN Manufacturing

Agreement, defined below) pursuant to the MEN Manufacturing Agreement between and among

NNL, NNI, FC and FTS (the “MEN MA”), provided that the Parties shall not be bound by this

Section 5(ii)(y) until each of the parties to the MEN MA execute the agreed form MEN MA

attached hereto as Exhibit 2, and provided further that any modifications to the agreed form

MEN MA requested prior to the execution of such agreed form MEN MA shall be subject to the

reasonable approval of the parties to the MEN MA, and (iii) the SLR MCMSA shall terminate as

currently scheduled effective as of December 12, 2009 pursuant to and subject to the contractual


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terms and conditions that apply to a termination made in accordance with its terms; provided,

however, that notwithstanding the termination of the SLR MCMSA and section 4 of the

Settlement Agreement, the Parties agree that Flextronics and Nortel shall continue to perform in

accordance with the terms and conditions of the SLR MCMSA all operations (A) under the

present VSHAs applicable to the CDMA business, and (B) under the Wireline Manufacturing

Agreement between and among NNL, NNI, FC and FTS, effective on June 23, 2009 (the

“Wireline Manufacturing Agreement”) applicable to the Wireline Products business (as defined

in the Wireline Manufacturing Agreement). Flextronics further agrees that it shall grant a

Purchaser terms and conditions identical (aside from nonmaterial conforming changes) to the

terms and conditions under the then-existing ERS8K MA, MEN MA and Wireline

Manufacturing Agreement, respectively, as such terms and conditions relate to a Business

subject to a future Divestiture, all on such terms, and subject to the provisions, as set forth in

section 4(a)(ii) of this Settlement and Release Agreement.

             6.    Nortel Release. Upon the Effective Date, Nortel (including the Debtors and

their estates) (the foregoing collectively referred to as the “Nortel Releasors”), do hereby release,

waive, and discharge (i) the claims for open accounts receivable owed by Flextronics to Nortel as

of October 29, 2009 listed on Schedule H to this Settlement and Release Agreement, and (ii) any

and all rights, rights of set-off, causes of action, liabilities, remedies and claims of any kind or

nature whatsoever which the Nortel Releasors have, may have or could have asserted against

Flextronics or its former, present or future officers, directors, employees or agents (the

“Flextronics Released Parties”), which arise directly from or relate to transactions or events

occurring or deemed to occur prior to the Petition Date in law or in equity, whether known or

unknown, foreseen or unforeseen, matured or unmatured, contingent or not contingent, whether


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or not hidden or concealed, whether based on tort, fraud, contract or otherwise, and/or any other

obligations, claims, interests, or debts of any kind, which the Nortel Releasors, from the

beginning of time, heretofore possessed or may possess against the Flextronics Released Parties,

which include, without limitation, causes of action included in Chapter 5 of the Bankruptcy Code

(and any similar causes of action under applicable state law) (collectively, the “Chapter 5

Claims”), all claims arising under or relating to the MCMSAs, including without limitation

claims for guaranty, warranty and indemnity arising thereunder, claims arising under purchase

orders issued pursuant to the MCMSAs, claims of set-off and claims for cure under the

MCMSAs (collectively, the “Nortel Released Claims”). Without limiting section 2(d) of this

Settlement and Release Agreement, the Nortel Released Claims shall not include any rights,

causes of action, liabilities, remedies and claims or defenses of any kind or nature the Nortel

Releasors have, may have or could have against Flextronics arising pursuant to a Pension and

Retirement Benefits Agreement (the “PRBA”) in connection with the transfer of facilities and

employees from Nortel to Flextronics in 2004, including any rights, causes of action, liabilities,

remedies and claims of any kind or nature or defenses arising from obligations under the PRBA

for certain post-retirement benefits (PRBs), transition retirement allowances (TRAs) and

retirement allowance payments (RAPs) (the “Pension Claims”). Notwithstanding the foregoing,

the Parties acknowledge and agree that, unless Flextronics is shown, following notice to

Flextronics provided within nine (9) months after the Effective Date, to have breached any of its

material obligations set forth in section 4 of this Settlement and Release Agreement, and unless

Flextronics does not cure such breach within five (5) business days following receipt of such

notice, the release by the Nortel Releasors of Chapter 5 Claims shall become effective upon the

earlier of (i) nine (9) months after the Effective Date and (ii) closing of Nortel’s Divestitures


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with respect to the CDMA/LTE, Enterprise, Optical, CVAS, Passport, GSM and Repair

Operations business lines (and upon closing of each of these identified Divestitures Flextronics

shall be released from Chapter 5 Claims relating to transactions in connection with such specific

business lines). The Nortel Releasors shall not assert any Chapter 5 Claims against Flextronics

unless and until, after giving notice of material breach, such breach not timely cured, as set forth

in the immediately preceding sentence. In the event that a Chapter 5 Claim is asserted by one or

more of the Nortel Releasors against Flextronics, the Parties agree that Flextronics shall be

entitled to assert any defenses related to such Chapter 5 Claims provided for under the

Bankruptcy Code or state law that Flextronics would have been able to assert if the Released

Claims had not been released pursuant to this Settlement and Release Agreement. For the

avoidance of doubt and without limiting the foregoing or other claims that may not be released

under this Settlement and Release Agreement, the Nortel Released Claims do not include (i) any

obligations, rights, causes of action, liabilities, remedies or claims of any kind or nature arising

under this Settlement and Release Agreement, or (ii) claims and defenses to those open accounts

receivable on Schedule I to this Settlement and Release Agreement, which remain subject to

reconciliation by the Parties in the ordinary course of business. For purposes of this section 6,

the Parties acknowledge and agree that (i) any guaranty, warranty, indemnity or similar

obligation shall be deemed to arise on the earliest date that the relevant goods are “delivered” by

Flextronics to Nortel or its designee or vice versa and (ii) “delivered” shall have the meaning

agreed to in section 6(a) of the Settlement Agreement. It is further agreed that to the extent that

the Nortel Releasors make any claim or commence or maintain any action or proceeding on

behalf of themselves or on behalf of any other person or causes any other person to make any

claim or commence or maintain any action or proceeding against any person or corporation or


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other entity in which any claim could arise against the Flextronics Released Parties, or any of

them, for contribution or indemnity or any other similar relief arising from or relating to the

Nortel Released Claims (each such action a “Nortel Third Party Action”), the Nortel Releasors

shall indemnify and hold harmless the Flextronics Released Parties for any reasonable and actual

costs, fees (including reasonable attorneys’ fees) or damages directly attributable to such Nortel

Third Party Actions (such indemnity obligation the “Nortel Third Party Indemnity Obligations”).

The Nortel Releasors hereby agree that the Flextronics Released Parties may require the Nortel

Releasors to escrow any funds actually received on account of such Nortel Third Party Actions

in an account to secure such Nortel Third Party Indemnity Obligations.

             7.    Flextronics Release. Upon the Effective Date, Flextronics (the foregoing

referred to as the “Flextronics Releasors”), do hereby release, waive, and discharge any and all

rights, rights of set-off, causes of action, liabilities, remedies and claims of any kind or nature

whatsoever which the Flextronics Releasors have, may have or could have asserted against

Nortel or its former, present or future administrators, trustees, officers, and Ernst & Young Inc.

as “Monitor” in connection with the CCAA Proceedings (the “Monitor”), directors, employees or

agents (the “Nortel Released Parties”), which arise directly from or relate to transactions or

events occurring or deemed to occur prior to the Petition Date, in law or in equity, whether

known or unknown, foreseen or unforeseen, matured or unmatured, contingent or not contingent,

whether or not hidden or concealed, whether based on tort, fraud, contract or otherwise, and/or

any other obligations, claims, interests, or debts of any kind, which the Flextronics Releasors,

from the beginning of time, heretofore possessed or may possess against the Nortel Released

Parties, which include, without limitation: any and all claims for Pre-Filing Inventory (as defined

in the Settlement Agreement) provided however that Nortel shall not be entitled to ownership of


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such Pre-Filing Inventory unless payment is made in accordance with the MCMSAs; claims

arising under § 503(b)(9) of the Bankruptcy Code, including the claims pursuant to § 503(b)(9)

of the Bankruptcy Code filed or otherwise asserted by FC, FTS, Flextronics America, LLC

(“Flextronics America”), Flextronics International Europe B.V. (“Flextronics Int’l Europe”),

Flextronics Logistics USA, Inc. (“Flextronics Logistics USA”), Flextronics Sales & Marketing

North Asia (L) Ltd (“Flextronics Sales & Marketing North Asia”), Flextronics Technology

(Penang) Sdn. Bhd. (“Flextronics Technology (Penang)”), Flextronics International Latin

America (L) Ltd. (“Flextronics Int’l Latin America”) and Flextronics International USA, Inc.

(“Flextronics Int’l USA”), against NNI, Nortel Altsystems, Inc. (“Nortel Altsystems”) and Nortel

Networks (CALA), Inc. (“Nortel Networks (CALA)”) (as detailed in Schedule E of this

Settlement and Release Agreement) and any other claims arising under § 503(b)(9) of the

Bankruptcy Code that have been or could be filed or otherwise asserted in the US Bankruptcy

Cases (such claims, “§ 503(b)(9) Claims”); all claims included in the proofs of claim filed or

otherwise asserted by FC, FTS, Flextronics America, Flextronics EMS Canada Inc. (“Flextronics

EMS Canada”), Flextronics Int’l Europe, Flextronics Int’l Latin America, Flextronics Int’l USA,

Flextronics Logistics USA, Flextronics Sales & Marketing North Asia and Flextronics

Technology (Penang) against NNI, Nortel Networks Capital Corporation, Inc., Nortel

Altsystems, Nortel Networks International Inc. and Nortel Networks (CALA) (as detailed in

Schedule F of this Settlement and Release Agreement) and any other such proofs of claim that

have been or could be filed or otherwise asserted in the US Bankruptcy Cases (such claims, “US

Proofs of Claim”); all claims included in the proofs of claim filed or otherwise asserted by FC,

FTS, Flextronics Int’l Europe, Flextronics Electronics Technology (Suzhou) Co. Ltd.,

Flextronics Distribution, Inc., Flextronics America, Flextronics International Europe B.V.,


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Flextronics Int’l Latin America, Flextronics (Canada) Inc., Flextronics International Poland sp.

z.o.o., Flextronics Sales & Marketing North Asia, Flextronics Canada Design Services Inc.,

Flextronics EMS Canada and Flextronics Enclosure Systems (Chongzhou) Ltd. against NNL,

Nortel Networks Technology Corporation, Nortel Networks International Corporation, Nortel

Networks Global Corporation and Nortel Networks Corporation (as detailed in Schedule G of

this Settlement and Release Agreement) and any other such proofs of claim that have been or

could be filed or otherwise asserted in the CCAA Proceedings (such claims, “Canadian Proofs of

Claim”); any other claims that have been or could be filed or otherwise asserted in the EMEA

Proceedings (the “EMEA Proofs of Claim”); any claims that have been or could be filed or

otherwise asserted in any other proceeding of a Nortel entity or otherwise (such claims together

with the EMEA Proofs of Claim, the § 503(b)(9) Claims, the US Proofs of Claim and the

Canadian Proofs of Claim, the “Flextronics Proofs”); reclamation claims arising under § 546 of

the Bankruptcy Code or otherwise; any potential obligation owed by the Nortel Released Parties

to the Flextronics Releasors related to or arising under the Montreal closing as set forth and

contemplated in section 5 of the Side Letter, and all claims arising under or relating to the

MCMSAs, including without limitation claims for guaranty, warranty and indemnity arising

thereunder, claims arising under purchase orders issued pursuant to the MCMSAs, claims of set-

off and claims for cure under the MCMSAs (all of the foregoing collectively, the “Flextronics

Released Claims” and together with the Nortel Released Claims, the “Released Claims”).

Without limiting section 2(d) of this Settlement and Release Agreement, the Flextronics

Released Claims shall not include any rights, causes of action, liabilities, remedies and claims or

defenses of any kind or nature the Flextronics Releasors have, may have or could have against

NNL or the Nortel Networks Health & Welfare Trust arising in connection with the Pension


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Claims or against any party with respect to Chapter 5 Claims. For the avoidance of doubt, the

following claims, inter alia, are included in the Flextronics Released Claims: (i) the

US$180,896,868 of claims for unpaid accounts receivable as of the Petition Date asserted in the

Flextronics Proofs against the Nortel Released Parties at, inter alia, paragraphs 19-21 of the proof

of claim asserted by FC against NNI [Claim No. 4873] (the “NNI Proof of Claim”), (ii) any and

all claims by Flextronics against the Nortel Released Parties for unpaid accounts receivable as of

the Petition Date arising from Nortel’s CDMA and LTE Access Business, (iii) any and all claims

by Flextronics against the Nortel Released Parties for unpaid accounts receivable on account of

goods or services delivered to the Nortel Released Parties or any of their customers or invoiced

to the Nortel Released Parties or any of their customers prior to the Petition Date, (iv) the

ordinary course contractual claims asserted in the Flextronics Proofs at, inter alia, paragraphs 22-

24 of the NNI Proof of Claim listed on Schedule D of this Settlement and Release Agreement,

(v) the Post-Petition Ordinary Course Contractual Claims asserted in the Flextronics Proofs at,

inter alia, paragraphs 22-24 of the NNI Proof of Claim listed on Schedule C of this Settlement

and Release Agreement, (vi) all claims related to Pre-Filing Inventory specifically including the

$98,757,797 for inventory on hand and the 3% cost of acquisition related to such inventory

asserted in the Flextronics Proofs at, inter alia, paragraphs 25-28 of the NNI Proof of Claim and

in the “Summary Tab” of the spreadsheets contained on the disk attached to the NNI Proof of

Claim as Exhibit C, and (vii) any and all other breach of contract claims asserted in the

Flextronics Proofs at, inter alia, paragraphs 29-30 of the NNI Proof of Claim, including

contingent, unliquidated and unmatured claims and claims for continuing breach. For the

avoidance of doubt and without limiting the foregoing or other claims that may not be released

under this Settlement and Release Agreement, the Flextronics Released Claims do not include (i)


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any obligations, rights, causes of action, liabilities, remedies or claims of any kind or nature

arising under this Settlement and Release Agreement, or (ii) claims and defenses related to those

open accounts receivable on Schedule I to this Settlement and Release Agreement, which remain

subject to reconciliation by the Parties in the ordinary course of business. For purposes of this

section 7, the Parties acknowledge and agree that (i) any guaranty, warranty, indemnity or

similar obligation shall be deemed to arise on the earliest date that the relevant goods are

“delivered” by Flextronics to Nortel or its designee or vice versa and (ii) “delivered” shall have

the meaning agreed to in section 6(a) of the Settlement Agreement. It is further agreed that to

the extent that the Flextronics Releasors make any claim or commence or maintain any action or

proceeding on behalf of themselves or on behalf of any other person or causes any other person

to make any claim or commence or maintain any action or proceeding against any person or

corporation or other entity in which any claim could arise against the Nortel Released Parties, or

any of them, for contribution or indemnity or any other similar relief arising from or relating to

the Flextronics Released Claims (each such action a “Flextronics Third Party Action”), the

Flextronics Releasors shall indemnify and hold harmless the Nortel Released Parties for any

reasonable and actual costs, fees (including reasonable attorneys’ fees) or damages directly

attributable to such Flextronics Third Party Actions (such indemnity obligation the “Flextronics

Third Party Indemnity Obligations”). The Flextronics Releasors hereby agree that the Nortel

Released Parties may require the Flextronics Releasors to escrow any funds actually received on

account of such Flextronics Third Party Actions in an account to secure such Flextronics Third

Party Indemnity Obligations.

             8.    No Claims or Defenses Asserted. For the avoidance of doubt, except as

expressly permitted under this Settlement and Release Agreement, Flextronics and Nortel hereby


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acknowledge and agree that they (i) shall not assert any further claim, demand payment or seek

further court relief or resolution, in either the Courts or any other court, with respect to all or any

portion of the Pre-Filing Inventory or any other Released Claims, (ii) promptly following the

Effective Date, shall reduce the related accounts receivable and accounts payable to zero

balances in their respective books and records and accounting systems and shall close all

invoices relating to the Pre-Filing Inventory in their respective books and records and accounting

systems, and (iii) shall not seek or be entitled to any remedy, cure or any other payment or

consideration or accommodation from a Purchaser or any other party in a Divestiture in respect

of any portion of the Pre-Filing Inventory or any other Released Claim. Notwithstanding the

foregoing or any other provision of this Settlement and Release Agreement, Pre-Filing Inventory

shall continue to be used in the calculation of Quarterly E&O pursuant to section 5 of the

Settlement Agreement. Flextronics further hereby acknowledges and agrees that the Flextronics

Proofs shall be deemed withdrawn in the applicable proceedings with prejudice, provided,

however, that Flextronics shall be permitted to file one or more amended proofs of claim against

NNL solely with regard to the Pension Claims that Flextronics alleges are owed by NNL. With

respect to such Pension Claims, Flextronics and NNL hereby agree that such claims will be

evaluated, adjudicated and resolved in accordance with the claims procedures to be established

by one or more claims procedure orders to be issued in the CCAA Proceedings. For the

avoidance of doubt, nothing in this Settlement and Release Agreement releases or constitutes a

waiver of Nortel’s defenses to any proofs of claim filed by Flextronics with respect to the

Pension Claims.

             9.    Resolution of Pension Claims. NNL shall not remove Flextronics from the

service list maintained in the CCAA Proceedings, and in the event that any distributions to


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creditors are proposed in a plan of reorganization, arrangement or compromise under the CCAA

(a “CCAA Plan”) prior to the final resolution of the Pension Claims in accordance with the

claims resolution process, NNL shall provide to Flextronics a copy of the proposed CCAA Plan

and shall provide notice of the hearing to approve the CCAA Plan, the proposed distribution and

the manner of addressing the claims including, without limitation, the establishment of a reserve

for the unresolved claims of all creditors that have timely filed claims (which notice may be

effected by service upon the service list maintained in the CCAA Proceedings or by distribution

to creditors generally in accordance with such procedures as may be approved by the Canadian

Court). NNL shall, if requested by Flextronics, consult with Flextronics regarding the proposed

treatment of the unresolved claims, including, without limitation, the amount of the proposed

reserve in respect of the unresolved claims, if the Pension Claims are then unresolved, prior to

any vote on the CCAA Plan by affected creditors. NNL shall further use reasonable best efforts,

subject to and consistent with its duties and obligations under applicable law and in accordance

with the terms of the PRBA, to (i) preserve documents related to the Pension Claims and make

such documents available to Flextronics upon request and (ii) reasonably cooperate with

Flextronics in connection with any litigation or other disputes with third parties relating to the

Pension Claims. Nothing contained in this Settlement and Release Agreement shall affect the

rights Flextronics may have, if any, as against the Nortel Networks Health & Welfare Trust in

respect of the Pension Claims.

            10.    Approval by the US Bankruptcy Court. This Settlement and Release

Agreement is subject in all respects to the entry of a final (as defined below) order by the US

Bankruptcy Court approving all terms and conditions contained in this Settlement and Release

Agreement. Within three (3) business days after NNI’s receipt of an executed copy of this


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Settlement and Release Agreement, NNI shall file a motion with the US Bankruptcy Court,

which motion shall be in form and substance reasonably acceptable to Flextronics, seeking the

approval of this Settlement and Release Agreement pursuant to §§ 101 and 363 of the

Bankruptcy Code (the “US Approval Order”) and any other applicable law, rules, orders or

procedures, and shall use reasonable best efforts to pursue the same until the US Approval Order

is entered and becomes Final. If the US Bankruptcy Court does not approve all terms and

conditions contained in this Settlement and Release Agreement, and the Parties are unable to

obtain court approval of this Settlement and Release Agreement, then this Settlement and

Release Agreement shall be null and void.

            11.    Approval by the Canadian Court. This Settlement and Release Agreement

is subject in all respects to the entry of a final order by the Canadian Court approving all terms

and conditions contained in this Settlement and Release Agreement. After NNL’s receipt of an

executed copy of this Settlement and Release Agreement, NNL shall file a motion with the

Canadian Court in sufficient time to ensure such motion will be heard at a joint hearing with the

US Bankruptcy Court, which motion shall be in form and substance reasonably acceptable to

Flextronics, seeking the approval of this Settlement and Release Agreement pursuant to

applicable law in the CCAA Proceedings (the “Canadian Approval Order”) and any other

applicable law, rules, orders or procedures, and shall use reasonable best efforts to pursue the

same until the Canadian Approval Order is entered and becomes Final. If the Canadian Court

does not approve all terms and conditions contained in this Settlement and Release Agreement,

and the Parties are unable to obtain court approval of this Settlement and Release Agreement,

then this Settlement and Release Agreement shall be null and void, and the Parties shall be

restored to their respective positions.


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             12.   Effective Date. This Settlement and Release Agreement shall become

effective on the first day after both the US Approval Order and the Canadian Approval Order

(each an “Approval Order”) become Final (the “Effective Date”). For purposes of this

Settlement and Release Agreement, “Final” with respect to each Approval Order means the date

on which the respective Approval Order is approved and entered by the respective court and is

no longer subject to appeal, writ of certiorari, reargument or rehearing, or, in the event that a

timely appeal has been noticed, or a timely writ of certiorari, reargument or rehearing has been

sought with regard to the respective Approval Order, then such Approval Order shall become

Final upon being affirmed by the highest court to which the Approval Order was appealed and

the time to take any further appeal, to petition for writ of certiorari or to move for reargument or

rehearing has expired. Notwithstanding the foregoing, the Parties shall have the right to waive

the requirement that the Approval Orders become Final.

             13.   Execution of Documents. The Parties agree to execute any and all

documents, and to perform any acts, upon request by the other, reasonably necessary or proper to

effectuate or further evidence the terms and provisions of this Settlement and Release

Agreement.

             14.   Consultation and Review. Each of the Parties hereby represents to the other

that (i) it has had full and adequate opportunity to request and review any and all documents

relevant to this Settlement and Release Agreement; (ii) it has negotiated this Settlement and

Release Agreement at arm’s length; (iii) it has read this Settlement and Release Agreement in its

entirety and understands its terms and contents; (iv) it has had full and adequate opportunity to

consult with and, in fact, has consulted with legal counsel on all matters related to this Settlement

and Release Agreement; (v) it has provided any comments regarding this Settlement and Release


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Agreement to its legal counsel; (vi) it has executed this Settlement and Release Agreement

freely, voluntarily and without coercion; and (vii) it has not relied on any inducements, promises,

statements, representations or warranties made by any person or entity not expressly set forth in

this Settlement and Release Agreement.

            15.    Binding Effect. This Settlement and Release Agreement constitutes a legal,

valid and binding obligation, enforceable against each of the Parties and any successors or

assigns of the Parties, in accordance with the terms hereof, subject to the approval of the US

Bankruptcy Court and the Canadian Court. Each of the Parties represents and warrants that the

execution, delivery and performance of this Settlement and Release Agreement has been

approved, if necessary, by all requisite corporate actions on its part and is within the scope of its

authority and powers, and shall not cause any default in or breach or violation of any applicable

law, rule, regulation, contract or other instrument to which it is a party or by which any of its

assets are bound or affected.

            16.    Objection to Settlement and Release Agreement. In the event that an

objection is filed to any motion for US Bankruptcy Court approval or Canadian Court approval

of this Settlement and Release Agreement, the Parties shall in good faith support the approval of

this Settlement and Release Agreement before the US Bankruptcy Court and/or the Canadian

Court, and to defend any appeals of an Approval Order to the fullest extent reasonably practical.

            17.    Third-Party Rights. Nothing in this Settlement and Release Agreement,

whether express or implied, is intended to confer any rights or remedies under or by reason of

this Settlement and Release Agreement on any persons other than the Parties and their respective

successors and assigns, nor is anything in this Settlement and Release Agreement intended to

relieve or discharge the obligation or liability of any third persons to the Parties, nor shall any


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provision give any third persons any right of subrogation or action against any party to this

Settlement and Release Agreement; provided, however, that any Purchaser in a Divestiture that

has been authorized by the Courts shall be deemed a third party beneficiary of section 4 of this

Settlement and Release Agreement and shall be entitled to enforce and take advantage of the

benefits thereof to their fullest extent as if it were a signatory hereto.

            18.     No Admission of Liability. It is understood by the Parties that this

Settlement and Release Agreement represents a compromise of disputed claims, and that this

Settlement and Release Agreement made hereunder is not to be construed as an admission of

liability on any claims, except as expressly stated herein. Neither the fact of this Settlement and

Release Agreement, nor any provision contained herein, nor any action taken hereunder, shall

constitute an admission with respect to any claims or facts alleged by any of the Parties hereto,

except as expressly stated herein. Without limiting the foregoing, Nortel does not admit the

validity of any objection Flextronics has asserted to date in the Proceedings, or that it could

assert with respect to any pending or future Divestiture, including without limitation to the

treatment of the MCMSAs in connection with any such Divestiture.

            19.     Interpretation. Terms not defined herein shall have the meanings provided

in the Settlement Agreement and related Side Letter and if not provided therein, in the Amending

Agreement or the applicable MCMSA. To the extent of any conflict, inconsistency or ambiguity

between and among this Settlement and Release Agreement, the Settlement Agreement, the Side

Letter, the Amending Agreement and the MCMSAs, this Settlement and Release Agreement

shall control, followed by the Settlement Agreement and Side Letter, followed by the Amending

Agreement, followed by the applicable MCMSA. To the extent that the last date for any act or

action permitted or required to be taken under the Settlement and Release Agreement falls on a


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day that is not a Business Day, that act or action may be taken on the next Business Day

following. If any provisions of terms of this Settlement and Release Agreement are deemed

unenforceable for any reason, then the parties agree that the rest of the Settlement and Release

Agreement should be given full force and effect to the greatest extent permissible under

applicable law, and that the court interpreting such provision is entitled to amend or substitute a

provision that give effect to the original intent and meaning of the unenforceable provision to the

greatest extent possible.

            20.    No Assumption, etc. The Parties agree that this Settlement and Release

Agreement is not intended to and shall not constitute or give rise to the assumption, rejection,

novation or repudiation of any of the agreements referred to in this Settlement and Release

Agreement or, except as expressly provided herein, otherwise affect the Parties' rights with

respect to any such agreements, whether in connection with the Proceedings or otherwise, and,

without limiting the foregoing, nothing in this Settlement and Release Agreement shall cause any

of the EMEA Entities, the Joint Administrators or any other Nortel entity to assume any

obligations under the MCMSAs or any other agreement to which such EMEA Entity or Joint

Administrator is not a signatory prior to the date hereof.

            21.    No Transfer of Claims. By executing this Settlement and Release

Agreement, each Party represents and warrants to the other that it has not sold, assigned,

transferred or otherwise conveyed any of its respective Released Claims to any other person or

corporation or other entity that is not a Party to this Settlement and Release Agreement.    Any

sale, assignment, transfer or other conveyance of claims in violation of this section 21 shall be

null and void and of no force and effect.




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            22.    Modification. This Settlement and Release Agreement may not be changed,

modified or altered in any manner, except in a written instrument signed by each of the Parties

(with the consent of the Monitor, the Official Committee of Unsecured Creditors appointed in

the US Bankruptcy Cases and the steering committee members of the ad hoc group of

bondholders that have executed confidentiality or non-disclosure agreements with NNL) or

approved by the Courts that refers specifically to this Settlement and Release Agreement.

            23.    Headings. The headings contained herein are set forth only as a matter of

convenience and for reference and in no way define, limit or describe the scope of this

Settlement and Release Agreement nor the intent of any provision thereof.

            24.    Consent to Jurisdiction. To the fullest extent and for the maximum time

period permitted by applicable law, each Party (i) agrees to submit to the non-exclusive

jurisdiction of the US Bankruptcy Court and the Canadian Court (if applicable, in a joint hearing

conducted under the cross-border protocol adopted by such courts, as it may be in effect from

time to time (the “Cross-Border Protocol”)), for purposes of all legal proceedings to the extent

relating to the matters agreed in this Settlement and Release Agreement, (ii) agrees that any

claim, action or proceeding by such Party seeking any relief whatsoever to the extent relating to

the matters agreed in this Settlement and Release Agreement must be commenced in the US

Bankruptcy Court if such claim, action or proceeding would solely affect the US Debtors, the

Canadian Court if such claim, action or proceeding would solely affect the Canadian Debtors, a

joint hearing of both the Canadian Court and the US Court conducted under the Cross-Border

Protocol if such claim, action or proceeding would affect the Canadian Debtors and the US

Debtors and the English courts if such claim, action or proceeding would solely affect the EMEA

Debtors, (iii) waives and agrees not to assert any objection that it may now or hereafter have to


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the laying of the venue of any such action brought in such a court or any claim that any such

action brought in such a court has been brought in an inconvenient forum, (iv) agrees that

mailing of process or other papers in connection with any such action or proceeding or any other

manner as may be permitted by law shall be valid and sufficient service thereof, and (v) agrees

that a final judgment in any such action or proceeding shall be conclusive and may be enforced

in other jurisdictions by suit on the judgment or in any other manner provided by applicable law.

            25.    Injunctive Relief. Each of the Parties agrees that this Settlement and Release

Agreement may be pled as a defense to any such claim or action in any court of competent

jurisdiction. In connection with the foregoing, the Parties agree that monetary damages would

not be sufficient to remedy any breach by a party of this Settlement and Release Agreement and

that the non-breaching party would be entitled to equitable relief, including, without limitation,

temporary injunctive relief preventing (or allowing, as the case may be) the unilateral

termination of performance and specific performance in respect of any breach of the Settlement

and Release Agreement.

            26.    Governing Law. This Settlement and Release Agreement shall be governed

by the laws of the Province of Ontario and the federal laws of Canada applicable therein;

provided, however, that any questions, claims, disputes, remedies or Actions arising from or

related to Sections 29 – 32 and any questions, claims, disputes, remedies or actions arising from

or related to (i) the capacity of the Joint Administrators to act as agents of the EMEA Entities,

(ii) the personal liability of the Joint Administrators, their firm, partners, employees, advisors,

representatives or agents, (iii) their qualification to act as insolvency practitioners in accordance

with Part XIII of the UK Insolvency Act, (iv) their appointment as joint administrators of the

EMEA Entities and their status as such, or (v) the statutory duties of the Joint Administrators or


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the legal obligations in relation to the exercise of their powers, duties or functions as

administrators of the EMEA Entities under the UK Insolvency Act or any other applicable

legislation or statutory instrument, shall be governed by English law and subject to the non-

exclusive jurisdiction of the English courts.

            27.      Counterparts. This Settlement and Release Agreement may be executed in

multiple counterparts, each of which shall be deemed an original, but all of which together shall

constitute one and the same complete agreement between the Parties. A facsimile or a PDF

signature shall be treated in all manners and respects as a binding and original signature.

            28.      Notices. All notices and other communications under this Settlement and

Release Agreement shall be in writing and shall be deemed to have been given when provided by

e-mail in addition to one of the following: (a) when delivered personally by hand, (b) when sent

by facsimile (with written confirmation of receipt) or (c) one (1) business day following the day

sent by overnight courier (with written confirmation of receipt), in each case at the following e-

mails, addresses and facsimile numbers:


                  If to Nortel (if prior to November 20, 2009):

                  Nortel Networks Limited
                  195 The West Mall
                  Mailstop: T0503006
                  Toronto, Ontario, Canada M9C 5K1
                  Attention: Anna Ventresca
                  Fax: (905) 863-2057
                  E-Mail: annav@nortel.com:

                  If to Nortel (if on or subsequent to November 20, 2009):

                  Nortel Networks Limited
                  5945 Airport Road, Suite 360
                  Mississauga, Ontario, Canada L4V 1R9
                  Attention: Anna Ventresca


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   Fax: (905) 863-2057
   E-Mail: annav@nortel.com

   with copies (which shall not constitute notice) to:

   Cleary Gottlieb Steen & Hamilton LLP
   One Liberty Plaza
   New York, New York 10006
   Attn: James L. Bromley, Esq.
         Lisa M. Schweitzer, Esq.
   Fax: (212) 225-3999
   E-Mail: jbromley@cgsh.com
           lschweitzer@cgsh.com




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   -and-

   Ogilvy Renault LLP
   Royal Bank Plaza
   South Tower
   200 Bay Street, Suite 3800
   P.O. Box 84
   Toronto, Ontario, Canada M5J 2Z4
   Attn: Derrick C. Tay, Esq.
   Fax: (416) 216-3930
   E-Mail: dtay@ogilvyrenault.com

   If to the Monitor:

   Ernst & Young Inc.
   Ernst & Young Tower
   222 Bay Street, P. O. Box 251
   Toronto, Ontario, Canada N M5K 1J7
   Attn: Murray A. McDonald
   Fax: (416) 943-3300
   Murray.A.McDonald@ca.ey.com

   with copies (which shall not constitute notice) to:

   Goodmans L.L.P.
   Attn: Joseph Pasquariello
   Fax: (416) 979-1239
   jpasquariello@goodmans.ca

   If prior to or on December 22, 2009 at:

   250 Yonge Street
   Suite 2400
   Toronto, Ontario, Canada M5B 2M6

   If after December 22, 2009 at:

   Bay Adelaide Centre
   333 Bay Street, Suite 3400
   Toronto, Ontario, Canada M5H 2S7

   If to the Joint Administrators:

   Ernst & Young LLP
   One More Place
   London SE1 2AF



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   United Kingdom
   Attn: Alan Bloom
   Fax: +44 (0) 20 7951 1345
   abloom@uk.ey.com

   with copies (which shall not constitute notice) to:

   Herbert Smith LLP
   Exchange House
   Primrose Street
   London EC2A 2HS
   United Kingdom
   Attn: Alan Montgomery, Esq.
          Ben Ward, Esq.
   Fax: +44 (0) 20 7098 4878
          alan.montgomery@herbertsmith.com
          ben.ward@herbertsmith.com

   If to Flextronics:

   Flextronics Corporation
   48 Gables Court
   Beaconsfield, Quebec, Canada H9W 5H4
   Attn: Simon Robins
   Fax: (514) 426-4262
   E-Mail: simon.robins@ca.flextronics.com

   -and-

   Flextronics International
   305 Interlocken Pkwy
   Broomfield, Colorado 80021
   Attn.: John Ritsick, Esq.
   E-Mail: john.ritsick@flextronics.com

   with copies (which shall not constitute notice) to

   Curtis, Mallet-Prevost, Colt & Mosle LLP
   101 Park Avenue
   New York, New York 10178-0061
   Attn: Steven J. Reisman, Esq.
   Fax: (212) 697-1559
   E-Mail: sreisman@curtis.com




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                -and-

                ThorntonGroutFinnigan LLP
                Suite 3200, Canadian Pacific Tower
                100 Wellington St. West, Toronto-Dominion Centre
                Toronto, Ontario, Canada M5K 1K7
                Attention: Leanne M. Williams, Esq.
                Fax: 416-304-1313
                E-Mail: lwilliams@tgf.ca


            29.     Authorized Signatory. Each person who executes this Settlement and

Release Agreement on behalf of (i) NNL and each of its Canadian affiliates that have filed an

application under the CCAA and (ii) NNI and its US debtor affiliates warrants and represents

that he or she has been duly authorized and empowered to execute and deliver this Settlement

and Release Agreement on behalf of each Nortel entity for which it signs. The persons who

execute this Settlement and Release Agreement on behalf of (i) each of the EMEA Entities and

(ii) the Joint Administrators warrants and represents that he or she has been duly authorized and

empowered to execute and deliver this Settlement and Release Agreement on behalf of each

EMEA Entity or Joint Administrator for which it signs. The person who executes this Settlement

and Release Agreement on behalf of Flextronics warrants and represents that he or she has been

duly authorized and empowered to execute and deliver this Settlement and Release Agreement

on behalf of Flextronics and each of its Affiliates. Each of Flextronics’ Affiliates shall be

entitled to enforce and take advantage of the benefits of this Settlement and Release Agreement

to its fullest extent as if they were signatories hereto.

            30.     NNSA Accession. Nortel Networks S.A. (“NNSA”) may, within 30 days of

the Effective Date, by notice in writing to the Parties hereto, accede to this Settlement and

Release Agreement as an EMEA Entity on the same terms and conditions as an EMEA Entity

(such accession conditioned, if applicable, on French Court approval), and the Parties shall


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forthwith on receipt of such notice enter into an appropriate form of accession agreement with

NNSA. The Parties agree that the provisions of this section 29 are for the benefit of NNSA and

may be enforced by NNSA.

            31.    Without limiting anything in this Settlement and Release Agreement or any

other agreement between the Parties, each of the Parties agrees that it shall not do indirectly,

through an affiliate, agent or otherwise, anything that it has agreed not to do under this

Settlement and Release Agreement.

            32.    The Parties acknowledge that the Joint Administrators are entering into this

Settlement and Release Agreement as agents for the EMEA Entities and that none of the Joint

Administrators or their firm, partners, employees, advisers, representatives or agents shall incur

any personal liability whatsoever whether on their own part or in respect of any failure on the

part of the EMEA Entities to observe, perform or comply with any of their obligations under this

Settlement and Release Agreement or under or in relation to any associated arrangements or

negotiations.

            33.    The Parties acknowledge that the Joint Administrators have agreed to the

terms of this Settlement and Release Agreement (i) as agents of the EMEA Entities of which

they are administrators; and (ii) in their own capacity solely for taking the benefit of the statutory

charges under Paragraph 99(3) of Schedule B1 of the UK Insolvency Act 1986 or any provisions

of this Settlement and Release Agreement in their favor and enforcing obligations under this

Settlement and Release Agreement.

            34.    For the purposes of the acknowledgements or agreements to, or exclusions of,

liability in favor of the Joint Administrators in this Settlement and Release Agreement,

references to the Joint Administrators where the context so permits shall mean and include any


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additional or successor administrator of the EMEA Entities and their respective firms or future

firms, employees, agents, members, partners and personal representatives.

                [Remainder of page intentionally left blank. Signatures follow.]




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       IN WITNESS WHEREOF, each Party, by its respective duly-authorized representative

identified below, acknowledges and agrees to the terms and conditions of this Settlement and

Release Agreement.




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 NORTEL NETWORKSCORPORATION                                NORTEL NETWORKS INC.

 By:                    7k/AZ                              By:

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                              SC.                          Name:    AKA ki4rt~C~
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           1 -j     C or poJ.         cIA/
 Dated:     Noveinbei.4Q2009           -                   Dated: Novcmberp~2009


                                                           NORTEL NETWORKS CAPITAL
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Dated:     NovemberV, 2009
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NORTEL NETWORKS LUTD                                       Dated:   Novembcr,'4 2009

By:
                                                           NORTEL ALTSYSTEMS INC.
Namne: A               \b,,c(ve
Title: Le0dC4C              Ag9       #J0.

Dated:     Nov m           r 209
                                                           Title:      p ef44
By:

Name:             LA-K~       Ii4fe                        Dated:   November;2   2009

Title:       JP) ltiaiC- ci CO oy
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Dated:     NovemberW, 2009
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                                                    NORTEL NETWORKS
                                                    APPLICATIONS MANAGEMENT
                                                    SOLUTIONS INC.

 Name:             ~ ,-       o    kuI,+/e
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 Title:    p CeS   . I-       fp .sVf-

 Dated:    November;22 2009                         Title:-    ~(S   t-        dj     "t&



                                                    Dated:    November~p 0 2009


                                                    NORTEL NETWORKS OPTICAL
                                                    COMTONENTS INC.
Title:      Pr~           le.,~*



Dated:     November Q2, 2009                                         ok b,0LW-
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                                                    Title:           -fS~t.Ir-t
CORETEK, INC

                                                    Dated:    NovemberiQd 2009
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                                                    NORTEL NETWORKS HPOCS INC.
Nam:               k
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Dated:     November~O 2009
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 ARCif(TEL SYSTEMS (U.S.)                           NORTEL NETWORKS CABLE
                                                    SOLUTION

                                                    By:-

 Narme            Ac.        c.t~f                  Name:              .kLA
                                                                         b.- Ii4ftp
 Title:         efi4     *                          Title:       V i'

 Dated:    Novembe4Z 2009                           Dated:     NovemberW26 2009


 NORTEL NETWORKS                                    NORTEL MTWORKS (CALA) INC.


                                                   By:



Title:y           aC-                               Title:         tS-     -v


Dated:     NovemberLO,2009                         Dated:      NovemberZ 2009


NORTHERN TLECOM                                    By:       ,~o"414
DITERNATIhAL INC.
                                                   Namp.,,,            Pe4o{ LuIc.
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Title:      'Pe(,bL ae
Dated:     Novembe~~, 2009
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NORTEL ALTSYSTEMS




Title:      Pti



Dated:   November g26209




Title:    Pr e -Si 4 e ,


Dated:   NovernberV, 2009
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                                 Signed by CHRISTOPHER J.W.HILL as
                                 joint administrator on behalf of the Joint
                                 Administrators and the EMEA Entities
                                 (except Nortel Networks (Ireland) Limited)
                                 without personal liability and solely for the
                                 purpose of obtaining the benefit of the
                                 provisions of this Agre ment expressed to be
                                 conferred on or give otheot
                                 Administrators

                                 By
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                            Signed by David Hughes as joint
                            administrator on behalf of the Joint
                            Administrators and Nortel Networks
                            (Ireland) Limited without personal liability
                            and solely for the purpose of obtaining the
                            benefit of the provisions of this Agreement
                            expressed to be conferred on or given to the
                            Joint Administrators

                            By
                            Name:.       I      Q    &
                            Title:      k1t-r    4Vt-1~%(Lw
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SIGNED for and on behalf of NORTEL
NETWORKS UK LIMITED (IN                      )   CHRISTOPHER J.W. HILL
ADMINISTRATION) by
CHRISTOPHER J.W. HILL as Joint
                                                  )~~~~6
Administrator (acting as agent and without
personal liability whatsoever) in the
presence of:
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Witness:         j N
Name:                CTo
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Address:      H
              1o4-6      "p-'         &ac,
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SIGNED for and on behalf of NORTEL
NETWORKS (IRELAND) LIMITED                   )   DAVID HUGHES
(IN ADMINISTRATION)                          )
by DAVID HUGHES as Joint                     )             N,                  t",r

Administrator (acting as agent and without
personal liability whatsoever) in the
presence of:

Witness:   ________




Name: OvoeAft oi biuA-                                          -e-C,0/jij
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SIGNED for and on behalf of NORTEL
NETWORKS BV (IN                               )   CHRISTOPHER J.W. HILL
ADMINISTRATION)
by CHRISTOPHER J.W. HILL as Joint                   )~~~~~~r
Administrator (acting as agent anid without
personal liability whatsoever) in the
presence of:.

Witness:           a (61--4w
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             4Q0400t -CIr         24Wc-
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                                             )
SIGNED for and on behalf of NORTEL           )   CHRISTOPHER J.W. HILL
NETWORKS HISPANIA, S.A.                      )
by CHRISTOPHER J.W. HILL as Joint            )
Administrator (acting as agent and without
personal liability whatsoever) in the
presence of:

Witness:          IN 7~~"
Name:       -4'flI 0t0(Z-06.L4-L
Address:    * t-ydc L-00)tb0i-"riCiC
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                              Schedule A - The EMEA Entities


1.     The EMEA Entities

Nortel Networks B.V (in administration)
Nortel Networks (Ireland) Limited (in administration)
Nortel Networks UK Limited (in administration)
Nortel Networks Hispania, S.A. (in administration)

2.    The Joint Administrators of Nortel Networks B.V. (in administration), Nortel Networks
UK Limited (in administration) and Nortel Networks Hispania, S.A. (in administration)

Alan Robert Bloom
Stephen John Harris
Alan Michael Hudson
Christopher John Wilkinson Hill
c/o Ernst & Young LLP
1 Moore Place
London SE1 2AF

3.     The Joint Administrators of Nortel Netwoks (Ireland) Limited (in administration)

David Hughes
c/o Ernst & Young Chartered Accountants
Harcourt Centre, Harcourt Street
Dublin 2, Ireland

Alan Robert Bloom
c/o Ernst & Young LLP
1 Moore Place
London SE1 2AF
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                        Schedule B - The Payment Obligations of NNI


        1. NNI shall pay to an account to be identified by Flextronics                    (such
payment together with the Adjustment Amount (as defined below), the "Payment Obligation") in
two equal installments. The first installment of                    shall be paid 10 days after the
Effective Date (the "First Installment"). The second installment of           ~         shall be
paid on or before May 31, 20 10 (the "Second Installment").

        2. The Parties agree to work in good faith to determine within 10 days of the execution
of this Settlement and Release Agreement which, if any, of the open accounts receivable listed
on Schedule J to this Settlement and Release Agreement are not valid obligations owed by
Flextronics to Nortel.

         3. With respect to open accounts receivable listed on Schedule J to this Settlement and
Release Agreement where the only dispute between Flextronics and Nortel is Nortel' s failure to
provide an invoice and/or a proof of delivery ("POD") for such open accounts receivable, (i)
Flextronics shall review its books and records to determine whether it has invoices and/or proofs
of receipt related to such open accounts receivable and (ii) Nortel shall provide invoices and/or
PODs for such open accounts receivable to Flextronics on or prior to December 15, 2009. For
any such open accounts receivable for which Flextronics is unable to locate an invoice (to the
extent missing) and a proof of receipt (to the extent missing) and Nortel does not provide a (i) an
invoice (to the extent missing) and (ii) a POD (to the extent missing) ((i) and (ii) together the
"Missing Invoice/POD") by that time, Nortel shall pay to an account identified by Flextronics
the amount of such open accounts receivable (the "Missing Invoice/POD Amount") on or prior
to December 24, 2009. In the event that Nortel subsequently provides, but not later than
February 26, 201 0, Flextronics with the Missing Invoice/POD for any open accounts receivable
comprising the Missing Invoice/POD Amount, Flextronics shall pay to an account to be
identified by Nortel the amount of such Missing Invoice/POD within ten (1 0) days of receipt of
such Missing Invoice/POD.

        4. With respect to all other open accounts receivable listed on Schedule J to this
Settlement and Release Agreement, on or prior to December 15, 2009, Flextronics shall deliver
to Nortel written notice itemizing the portions of the invoices relating to such accounts
receivable that Flextronics agrees are valid obligations owing to Nortel. For any portion of such
invoices that remain in dispute as of December 15, 2009, the Parties agree to continue to work in
good faith to reconcile and resolve such disputes. NNI shall pay to Flextronics (i) the amount, if
any, in respect of such remaining accounts receivable that the Parties subsequently agree do not
constitute valid obligations owed by Flextronics to Nortel, or (ii) if the Parties are unable to
agree on such amount on or prior to February 1, 201 0, an amount in respect of such remaining
accounts receivable determined by the Courts in a joint hearing upon notice to not constitute
valid obligations owed by Flextronics to Nortel (the "Invalid Invoice Amount"). Nortel shall pay
to an account to be identified by Flextronics the Invalid Invoice Amount on or prior to ten (10)
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days from the date of written confirmation of an agreement between Flextronics and Nortel
pursuant to (i) above or entry of the final determination by the Courts pursuant to (ii) above.

      5. The Parties further agree that the Missing POD Amount plus the Invalid Invoice
Amount (together the "Adjusted Amount") shall not exceed                        .~
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                                                                                                                                         Flex POD Number
                NT Legal                   Inco-                                          ii Flex Invoice                                 (Bill of Lading I   Delivery Date   Amount Invoiced   Iivoiced
   NT P0#     ~Entity on P0      LOB      terms      Flex Site (MEP Code)   Flex Invoice II      Date            Flex Legal Entity            Airway#         per Flex POD     Local Currency   Currency   FX Rate   USD$          Claims Description
              Nortel        OPTICALUPP/                                                                     Flextronics International                                                                                         ROIC 04'09 (Jan'09-Mar`09)
              Networks Inc. CCMA                 PCBA Guadalajara North     20002020-A        24-Aug-09     Latin America (L) Ltd                                                                 USID     10000              BT post-filing
              Nortel        OPTICAIJPP/                                                                     Flextronics International                                                                                         ROIC Q1'1O (Apr'09-Jun'09)
              Networks Inc, COMA                 PCBA Guadalajara North     20002020 0        24-Aug-09     Latin America (L) Ltd                                                                 USD      10000              BT post-filing
              Nortel        Carrier CVAS         PCBA Creadmoor, North                                                                                                                                                        ROIC cost structure model
4320081568    Networks Inc, (Wireline)           Carolina                   J2410002732       26-Aug 09     Flextronics America ILLC                                                              USD      10000O             Jan 14th, 2009 to Mar 31 st
              Nortel        Enterprise -                                                                    Flextronics International
              Networks Inc. Voice                PCBA Calgary, Canada       103 1101          21 -Aug-09    Europe BV                                                                             USD      10000              Feb 2009 ROIC
              Nortel        Enterpaise-                                                                     Flextronics International
              Networks Inc. Voice                PCBA Calgary, Canada       1031/101          21 -Aug-09    Europe BV                                                                             USD      10000              March 2009 ROIC
              Nortel        Enterprise -                                                                    Flextronics International
              Networks Inc. Voice                PCBA Calgary, Canada       103/1101          21 -Aug-09    Europe BV                                                                            USD       1 0000             April 2009 ROIC
              Nortal        Enterprise -                                                                    Flextronics International
              Networks Inc. Voice                PCBA Calgary, Canada       103 /101          21-Aug-09     Europe BV                                                                            USC       1 0000             Jan 2009 ROtC (post-filing)
              Nortal        Enterprise-                                                                     Flextronics International
              Networks Inc. Voice                PCBA Calgary, Canada       103 /101          21-Aug-09     Europe BV                                                                            USD       1 0000             May 2009 ROIC
              Nortal        OPTICAUPPI                                                                      Flextronics International                                                                                         ROIC 04109 (Jan'09-Mar`09)
              Networks Inc. COMA                 PCBA Guadalatara North     20002020-B       24-Aug-09      Latin America (L) Ltd,                                                               USC       1 0000             prefiling
              Nortel        Enterprise -                                                                    Flextroniics International
              Networks Inc. Voice                PCBA Calgary, Canada       103 /101         21 -Aug-09     Europe BV                                                                            USC       1 0000             Jun 2009 ROtC
              Nortel        Enterprise-                                                                     Flextronics International
              Networks Inc. Voice                PCBA Calgary, Canada       104              24-Aug-09      Europe BV                                                                            USD       1 0000             July2009 ROIC
              Nortal        Carrier CVAS         PCBA Creedmoor, North
              Networks Inc. (Wireline)           Carolina                   J2410002951      26-Aug-09      Flextronics America LLC                                                              USD       1 0000            Consumables
              Nodael        Carrier CVAS         PCBA Creedmoor, North                                                                                                                                                       Engineering Change Orders
              Networks Inc. (Wirefine)           Carolina                   J2410002560      26-Aug-09      Flextronics America LILC                                                             USC       1 0000            (ECO)
20081218-     Nortal        Carrier -            PCI3A Penang, Malaysia                                     Flextronics Technology                                                                                           Engineering Support to
184713        Networks Inc. COMA                 Other                      2011289           30-Jan-09     (Penang) Sdn.Bhd                                                                     USC       1 0000            Customer (Jan'09)
              Nodael
              Networks      Carrier -                                                                       Flextronics International
4320075906    Limited       COMA                 PCBA Guadalatara North     10000581          18May-09      Latin America (L)Ltd,                                                                USC       1 0000             NPI for CMOE-2, COMA
              Nodael        Carrier CVAS         PCBA Creedmoor, North                                                                                                                                                       Engineering Change Orders
              Networks Inc. (Wireline)           Carolina                   J2410002725      26-Aug-09      Flextronics America LLC                                                              USD       1 0000            (ECO)
              Nodael
              Networks      Carrier -                                                                       Flextronics International                                                                                        Consumables Craids (Jan14-
4320075683t   Limited       COMA                 PUBA Guadalajara North                                                                                                                          USD       1 0000            Feb28)
                                                                            41620001400       15-May-09     Latin America (L) Ltd
              Nodael        Carrer CVAS          PCBA Creedmoor, North                                                                                                                                                       Engineering General Support
              Networks Inc. (Wireline)           Carolina                   J2410003057      26-Aug-09      Flextronics America ILLC                                                             USD       10000             to Customer
              Nodael        Carrier CVAS         PCBIA  Creedmoor, North
              Networks Inc. (Wireline)           Carolina                   J2410000298      26-Aug-09      Flextronics America LILC                                                             USD       10000             Freight &Duty -Inbound
              Nodael        Carrier CVAS         PCBA Creedmoor, North
              Networks Inc. (Wireline)           Carolina                   J2410002724      26-Aug 09      Flextronics America LILC                                                             USD       10000             Rework I Upgrades
              Nodael        Carrier CVAS         PCBA Creedmoor, North                                                                                                                                                       Engineering Change Orders
              Networks Inc. (Wireline)           Carolina                   J2410000296      26-Aug-09      Flextronics America LLC                                                              USID      10000             (ECO)
              Nodael        Carrier CVAS         PCBA Creedmoor, North                                                                                                                                                       Engineenng General Support
              Networks Inc. (Wireline)           Carolina                   J2410002434      26-Aug-09      Flextronics America LLC                                                              USD       10000             to Customer
              Nodael        Carrier CVAS         PCBA Creedmoor, North                                                                                                                                                       Engineering Change Orders
              Networks Inc, (Wireline)           Carolina                   J241G002433      26-Aug-09      Flextrontics America LLC                                                             USD       10000             (ECO)
              Nodael        Carrier CVAS         PCBA Creedmoor, North
              Networks Inc. (Wireline)           Carolina                   J241G000297      26-Aug 09      Flextronics America LLC                                                              USD       1 0000            Freight &Duty -Inbound
              Nodael        Carrier CVAS         PC83A  Creedmoor, North                                                                                                                                                     Engineering Change Orders
              Networks Inc. (Wireline)   EXP INV Carolina                   J2410002561      26-Aug 09      Flextronics America ILLC                                                             USID      10000             (ECO)
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                   Schedule D - Pre-Petition Ordinary Course Contractual Claims

                          I              I        I-

   Amount
Invoiced Local Invoiced
   Currency    Currency       FX Rate                                     Claims Description
              USD              1.0000             ROIC Q2'08 Sept08 (BT)
              USD              1.0000             Legacy E&O after BOP
              USD              1 0000             ROIC Q3'08 (oct-nov-dec)
              USD              1 0000             ROIC model cost structure model. Nov 2nd, 2008 to Dec 31 st, 2008
              USD              1 0000             TRA - Retirement Benefit (Oct - Dec 2008)
              CDN              1.2157             Q2-09 NN Portion of Pension Support MTL (Apr - Jun'09)
              CND              1.2 157            Ql-09 NN Portion of Pension Support MTL (15th Jan - 31st Mar)
              CDN              1 2157             Q2-09 NN Portion of Pension Support CGY (Apr - Jun'09)
              USD              1.0000             Jan 2009 ROIC (pre-filing)
              USD              1.0000             Outbound freight (Jan 1 - Jan 14th)
              USD              1 0000             Mind Ready claim (over a year old)
              USD              1.0000             ROIC model cost structure model Jan 1st to Jan 13th, 2009
              CND              1.2 157            Ql-09 NN Portion of Pension Support MTL (1st-14th Jan)
              USD              1.0000             TRA - Retirement Benefit (Oct - Dec 2008)
              USD             1 0000              Stock Rotation # 142 Rework (December'08)
              USD             1 0000              Monkstown Packaging Claim (Oct - Dec)
              USD             1.0000              Expedited Air Freight (Dec'08)
              USD             1.0000              Ql-O9 NN Portion of Pension Support CGY (15th Jan - 31st Mar)
              USD             1 0000              RTP Packaging Claim (Oct - Dec)
              USD             1 0000              Calgary NPI (Nov'08)
              USD             1.0000              Calgary NPI (Dec'08)
              USD             1.0000              Calgary NPI (Aug'08)
              USD             1.0000              Calgary NPI (Oct'08)
              USD             1 0000              Calgary NPI (Sep'08)
              USD             1 0000              Stock Rotation # 141 Rework (November'08)
              USD             1 0000              Flextronics Q3 under consumption
              USD             1.0000              NPI (Jan 1st - 14th)
              CND             1 2157              Ql-09 NN Portion of Pension Support CGY (1st-14th Jan)
              USD             1.0000              Flex's CSA invoices (2007-2008)
              USD             1.0000              Engineering Related (nov'08)
              USD             1.0000              Tooling, Fabrication Tooling (nov-08)
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                                      Schedule E – § 503(b)(9) Claims3


    Claim Register ID No.            U.S. Debtor                  Creditor Name            Amount Claimed (USD)

            4858                Nortel Altsystems Inc.        Flextronics Corporation                   24,795,601.00

            4859                 Nortel Networks Inc.         Flextronics Corporation                   24,795,601.00

            4862                 Nortel Networks Inc.          Flextronics Sales &                         331,437.00
                                                             Marketing North Asia (L)
                                                                       Ltd.

            4863                 Nortel Networks Inc.         Flextronics Technology                        46,351.00
                                                                (Penang) Sdn. Bhd.

            4864                 Nortel Networks Inc.         Flextronics International                    637,596.00
                                                               Latin America (L) Ltd.

            4865              Nortel Networks (CALA),         Flextronics International                        472.00
                                        Inc.                        Europe B.V.

            4866                 Nortel Networks Inc.         Flextronics International                      9,427.00
                                                                     USA Inc.

            4867              Nortel Networks (CALA),        Flextronics America LLC                         2,076.00
                                        Inc.

            4868                 Nortel Networks Inc.         Flextronics International                  10,663,45.00
                                                                    Europe B.V.

            4869                 Nortel Networks Inc.        Flextronics America LLC                    11,918,347.00

            4870                Nortel Altsystems Inc.          Flextronics Telecom                     24,795,601.00
                                                                   Systems Ltd.

            4871                 Nortel Networks Inc.           Flextronics Telecom                     24,795,601.00
                                                                   Systems Ltd.

            4875                 Nortel Networks Inc.        Flextronics Logistics USA                   1,195,872.00
                                                                        Inc.




3
  This Schedule E is provided for illustrative purposes only. To the extent that this Schedule E is inconsistent with
the releases contained in section 7 of this Settlement and Release Agreement, the releases contained in section 7 of
this Settlement and Release Agreement shall govern.
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                                     Schedule F – US Proofs of Claim4

    Claim Register ID        U.S. Debtor                      Creditor Name                       Amount Claimed
          No.                                                                                         (USD)

                          Nortel Altsystems          Flextronics Telecom Systems Ltd.                  608,200,466.00
                                 Inc.

          4857             Nortel Networks           Flextronics Telecom Systems Ltd.                  608,200,466.00
                           International Inc.

          4860           Nortel Networks Inc.        Flextronics Telecom Systems Ltd.                  608,200,466.00

          4861            Nortel Networks            Flextronics Telecom Systems Ltd.                  608,200,466.00
                         Capital Corporation

          4872            Nortel Networks                 Flextronics Corporation                      608,200,466.00
                         Capital Corporation

          4873           Nortel Networks Inc.             Flextronics Corporation                      608,200,466.00

          4874            Nortel Altsystems               Flextronics Corporation                      608,200,466.00
                                 Inc.

          4876           Nortel Networks Inc.     Flextronics Sales & Marketing North Asia             303,738,362.00
                                                                   (L) Ltd.

          4877           Nortel Networks Inc.          Flextronics Logistics USA, Inc.                 305,640,281.00

          4878           Nortel Networks Inc.      Flextronics Technology (Penang) Sdn.                303,583,529.00
                                                                   Bhd.

          4879             Nortel Networks          Flextronics International Europe B.V.                       472.00
                            (CALA), Inc.

          4880           Nortel Networks Inc.        Flextronics International USA, Inc.               302,779,326.00

          4881           Nortel Networks Inc.      Flextronics International Latin America             312,698,697.00
                                                                   (L) Ltd.

          4882           Nortel Networks Inc.       Flextronics International Europe B.V.              334,302,199.00

          4883           Nortel Networks Inc.            Flextronics America, LLC                      349,425,851.00

          4884             Nortel Networks               Flextronics America, LLC                             2,076.00
                            (CALA), Inc.

          4885             Nortel Networks                Flextronics Corporation                      608,200,466.00
                           International Inc.


4
  This Schedule F is provided for illustrative purposes only. To the extent that this Schedule F is inconsistent with
the releases contained in section 7 of this Settlement and Release Agreement, the releases contained in section 7 of
this Settlement and Release Agreement shall govern.
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4886      Nortel Networks Inc.    Flextronics EMS Canada Inc.             302,771,369.00
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                                Schedule G – Canadian Proofs of Claim5

E&Y Claim ID Number               CCAA Applicant                  Creditor Name            Amount Claimed (CAD)

           1840                Nortel Networks Limited        Flextronics International                 83,703,679.00
                                                                    Europe B.V.

           1841                Nortel Networks Limited        Flextronics Electronics                      120,436.23
                                                             Technology (Suzhou) Co.
                                                                       Ltd.

           1842                Nortel Networks Limited        Flextronics Distribution,                     72,219.28
                                                                        Inc.

           1843                   Nortel Networks            Flextronics America, LLC                       14,756.48
                               Technology Corporation

           1844                Nortel Networks Limited       Flextronics America, LLC                          529.59

           1845                   Nortel Networks               Flextronics Telecom                   741,541,610.00
                               Technology Corporation               Systems Ltd

           1846                   Nortel Networks             Flextronics International                     38,808.83
                               Technology Corporation          Latin America (L) Ltd.

           1847                Nortel Networks Limited        Flextronics International                  4,270,873.78
                                                               Latin America (L) Ltd.

           1850                Nortel Networks Limited       Flextronics (Canada) Inc.                  33,679,301.00

           1866                Nortel Networks Limited          Flextronics Telecom                   775,220,909.98
                                                                    Systems Ltd

           1870                     Nortel Networks             Flextronics Telecom                   741,541,610.20
                               International Corporation            Systems Ltd

           1872                Nortel Networks Global           Flextronics Telecom                   741,541,610.20
                                    Corporation                     Systems Ltd

           1875                    Nortel Networks              Flextronics Telecom                   741,541,610.20
                                    Corporation                     Systems Ltd

           1878                   Nortel Networks             Flextronics Corporation                 741,541,608.98
                               Technology Corporation

           1879                Nortel Networks Limited        Flextronics Corporation                 741,541,608.98

           1881                Nortel Networks Global         Flextronics Corporation                 741,541,608.98


5
  This Schedule G is provided for illustrative purposes only. To the extent that this Schedule G is inconsistent with
the releases contained in section 7 of this Settlement and Release Agreement, the releases contained in section 7 of
this Settlement and Release Agreement shall govern.
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                 Corporation

1884            Nortel Networks         Flextronics Corporation             741,541,608.98
           International Corporation

1887           Nortel Networks          Flextronics Corporation             741,541,608.98
                Corporation

1894       Nortel Networks Limited      Flextronics International                 19,710.70
                                            Poland Sp. z.o.o.

1898       Nortel Networks Limited       Flextronics Sales &                      20,046.27
                                       Marketing North Asia (L)
                                                 Ltd

1902           Nortel Networks         Flextronics Canada Design              5,638,089.47
            Technology Corporation            Services Inc.

1903           Nortel Networks         Flextronics EMS Canada                 2,558,618.98
            Technology Corporation               Inc.

1904           Nortel Networks           Flextronics Enclosure                    43,421.38
            Technology Corporation     Systems (Changzhou) Ltd.
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                              Schedule H – Open Accounts Receivable

Confidential. Filed under seal pursuant to the Order Authorizing the Debtors to File Under Seal
Certain Portions of (I) the Settlement and Release Agreement and (II) the Side Agreement,
Attached as Exhibits to the Debtors' Motion Pursuant to 11 U.S.C. §§ 105 and 363 and Fed. R.
Bankr. P. 9019 for Entry of an Order (I) Authorizing and Approving the Flextronics Settlement
and Release Agreement, (II) Authorizing and Approving the Related Side Agreement and (III)
Granting Related Relief [D.I. _____]. Copies of Schedule H will be provided to the United States
Trustee and the Court.
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                         Schedule I – Preserved Open Accounts Receivable

Confidential. Filed under seal pursuant to the Order Authorizing the Debtors to File Under Seal
Certain Portions of (I) the Settlement and Release Agreement and (II) the Side Agreement,
Attached as Exhibits to the Debtors' Motion Pursuant to 11 U.S.C. §§ 105 and 363 and Fed. R.
Bankr. P. 9019 for Entry of an Order (I) Authorizing and Approving the Flextronics Settlement
and Release Agreement, (II) Authorizing and Approving the Related Side Agreement and (III)
Granting Related Relief [D.I. _____]. Copies of Schedule I will be provided to the United States
Trustee and the Court.
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                   Schedule J – Adjustment Amount Open Accounts Receivables

Confidential. Filed under seal pursuant to the Order Authorizing the Debtors to File Under Seal
Certain Portions of (I) the Settlement and Release Agreement and (II) the Side Agreement,
Attached as Exhibits to the Debtors' Motion Pursuant to 11 U.S.C. §§ 105 and 363 and Fed. R.
Bankr. P. 9019 for Entry of an Order (I) Authorizing and Approving the Flextronics Settlement
and Release Agreement, (II) Authorizing and Approving the Related Side Agreement and (III)
Granting Related Relief [D.I. _____]. Copies of Schedule J will be provided to the United States
Trustee and the Court.
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               Exhibit 1 - Form ERS8K MA
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                        ERS8K MANUFACTURING AGREEMENT

This Agreement is entered into between Nortel Networks Limited ("NNL") and Nortel Networks
Inc. ("NNI") (NNL and NNI collectively "Nortel") on the one hand and on the other hand
Flextronics Telecom Systems Ltd. ("FTS") and Flextronics Corporation (f/k/a Solectron
Corporation, "FC") (FTS and FC, collectively, "Flextronics"), on the terms and conditions set
forth below. This Agreement will become effective on    _____,  2009 (the "Effective Date").

WHEREAS, Nortel is currently purchasing the contract manufacturing services related to certain
of its products identified in Schedule A attached hereto as "SLR Enterprise Products," as
produced in Flextronics's facility in Penang, Malaysia ("Penang"), Charlotte, North Carolina
("Charlotte"), Milpitas, California ("Milpitas") and distributed through Flextronics's facility in
Columbia, South Carolina ("Columbia"). The purchase and sale of the SLR Enterprise Products
is currently governed by that certain Master Contract Manufacturing Services Agreement
between FC and Nortel, dated as of September 30, 2003 and as subsequently amended by the
parties (the "SLR MCMSA");

AND WHEREAS, NNL and Flextronics have agreed, pursuant to that certain Settlement
Agreement dated May 22, 2009 (the "Settlement Agreement"), that, inter alia, the business and
operations conducted pursuant to the SLR MCMSA related to the SLR Enterprise Products
would terminate in accordance with the terms of the SLR MCMSA as of December 12, 2009;

AND WHEREAS, the Parties have subsequently agreed that Flextronics will continue to provide
the manufacturing services related to the SLR Enterprise Products under the terms and
conditions set out herein;

NOW, THEREFORE, in consideration of the mutual promises hereinafter set forth (the receipt
and sufficiency of which is hereby acknowledged), the Parties hereby agree as follows:

1.      The Parties agree that, with respect to the SLR Enterprise Products, Flextronics' s
continued production of such products shall be pursuant to the terms of that certain Amended
and Restated Master Contract Manufacturing Services Agreement between FTS and Nortel,
dated as of June 29, 2004 and as subsequently amended by the parties (the "Flex MCMSA"),
and, further, that such production and services shall be continued until (a) December 31, 2010
with respect to the services currently provided in Penang, Charlotte and Milpitas and (b) March
31, 2010 with respect to the services currently provided in Columbia. With respect to such
continuing support, the pricing will be fixed through December 31, 2009

2.      Except as set out herein, the terms and conditions governing the provision of the
manufacturing services related to the SLR Enterprise Products shall be, in order of precedence
(controlling documents listed first): (i) this Agreement, (ii) Settlement Agreement, (iii) the
Amending Agreement by and between the parties dated January, 13, 2009, and (iv) the Flex
MCMSA, as amended and as particularly amended by that certain Amending Agreement dated
January 13, 2009 and the Settlement Agreement. The Parties have agreed that the terms of any
applicable Virtual System House Agreements or other agreements currently governing the SLR



18/11/2009                   18/11/2009    ~~~Draft Agreement1
                                    ERS8K Manufacturing                                  1
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Enterprise Products business shall continue in their current forms, except to the extent such terms
are superseded by the terms of the Flex MCMSA and this Agreement.

3.    The pricing for the SLR Enterprise Products will remain at the current rates through
December 31, 2009.




January 1, 2010
April 1, 2010
July 1, 2010
October 1, 2010

 As part of the closing of the sale to Avaya Inc. by Nortel of Nortel's Enterprise Solutions
business ("Closing"), Flextronics consents to Nortel's assignment to Avaya of Nortel's
obligation to pay all of the above described quarterly payments that will become due after the
effective date of the Closing; provided, Avaya Inc. acknowledges its assumption of such
payment obligation in writing with Flextronics in advance of the Closing. Upon Avaya Inc. and
Flextronics entering into the written agreement acknowledging assumption of the described
quarterly payments, Flextronics will release Nortel from all liability for such payments.

4.      Flextronics utilizes certain "gold boards" as part of the test processes for the SLR
Enterprise Products (the "Gold Boards"), Nortel and FC will mutually agree on an appropriate
Gold Board population and identify these quantities in Schedule B. Nortel shall submit a
purchase order for the Gold Boards in the amount set forth in Schedule B, which Nortel shall pay
to Flextronics on Payment terms consistent with the current AA process Flextronics shall
retained possession of the Gold Boards as Loaned Assets under the Flex MCMSA.

5.     For the avoidance of doubt, Flextronics shall submit and Nortel shall be responsible for
claims for Quarterly E&O generated by the SLR Enterprise Products in accordance with the
terms of the Settlement Agreement and Amending Agreement.

        [REST OF PAGE INTENTIONALLY LEFT BLANK - SIGNATURES FOLLOW]




18/11/2009                   ~~~Draft ERS8K Manufacturing Agreement2
                             18/11/2009                                                   2
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IN WITNESS WHEREOF, the parties hereto have signed this Manufacturing Agreement, to be
effective as of the Effective Date first above written, although actually signed by the parties on
the dates shown below their respective signatures.

NORTEL NETWORKS LIMITED                              FLEXTRONICS TELECOM
                                                     SYSTEMS, LTD.


By:                                                  By:

Name:                                               Name:
Title:                                              Title:

Date:                                                Date:

                                                    FLEXTRONICS CORPORATION

                                                    By:
                                                    Name:
                                                    Title:

                                                    Date:




18/11/2009                                ~~~Draft Agreement3
                                    ERS8K Manufacturing
                             18/11/2009                                                  3
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                                            Schedule A

                                   SLR Enterprise Products

As of the Effective Date, the SLR Enterprise Products consist of the following Products
manufactured in Penang:




18/11/2009                  ~~~Draft ERS8K Manufacturing Agreement4
                            18/11/2009                                                    4
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                                           Schedule B

                                          Gold Boards




18/11/2009                ~~~Draft ERS8K Manufacturing Agreement5
                          18/11/2009                                                   5
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               Exhibit 2 - Form MEN MA
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                         MEN MANUFACTURING AGREEMENT

This Agreement is entered into between Nortel Networks Limited ("NNL"') and Nortel Networks
Inc. ("NNI") (NNL and NNI collectively "Nortel") on the one hand and on the other hand
Flextronics Telecom Systems Ltd. (`FTS") and Flextronics Corporation (flkla Solectron
Corporation, "FC") (FTS and FC, collectively, "Flextronics"), on the terms and conditions set
forth below. This Agreement will become effective on October 15, 2009 (the "Effective Date").

WHEREAS, Nortel is currently purchasing the contract manufacturing services related to certain
of its products identified in Schedule A attached hereto as SLR Metro Ethernet Networks (MEN)
Products, as produced in Flextronics' facility in Guadalajara, Mexico. The purchase and sale of
the SLR MEN Products is currently governed by that certain Master Contract Manufacturing
Services Agreement between FC and Nortel, dated as of September 30, 2003 and as subsequently
amended by the parties (the `SLR MCMSA");

AND WHEREAS, NNL and Flextronics have agreed, pursuant to that certain Settlement
Agreement dated May 22, 2009 (the "Settlement Agreement"), that, inter alia, the business and
operations conducted pursuant to the SLR MCMSA related to the SLR MEN Products would
terminate in accordance with the terms of the SLR MCMSA as of December 12, 2009;

AND WHEREAS, the Parties have subsequently agreed that Flextronics will continue to provide
the manufacturing services related to the SLR MEN Products under the terms and conditions set
out herein;

NOW, THEREFORE, in consideration of the mutual promises hereinafter set forth (the receipt
and sufficiency of which is hereby acknowledged), the Parties hereby agree as follows:

I1.    The Parties agree that, with respect to the SLR MEN Products, Flextronics' continued
production of such products shall be pursuant to the terms of that certain Amended and Restated
Master Contract Manufacturing Services Agreement b etween FTS and Nortel, dated as of June
29, 2004 and as subsequently amended by the parties (the "Flex MCMSA"), and, further, that
such production and services shall be continued until June 30, 2010 unless an extension to this
agreement is mutually agreed prior to June 30, 201 0.

2.      Except as set out herein, the terms and conditions governing the provision of the
manufacturing services related to the SLR MEN Products shall be, in order of precedence
(controlling documents listed first): (i) this Agreement, (ii) Settlement Agreement, (iii) the
Amending Agreement by and between the parties dated January, 13, 2009, and (iv) the Flex
MCMSA, as amended and as particularly amended by that certain Amending Agreement dated
January 13, 2009 and the Settlement Agreement. The Parties have agreed that the terms of any
applicable Virtual System House Agreements or other agreements currently governing the SLR
MEN Products business shall continue in their current forms, except to the extent such terms are
superseded by the terms of the Flex MCMSA and this Agreement.




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3.    Pricing for the SLR MEN Products will remain at the current rates through December 3 1,
2009.




January 1, 2010
April 1, 20 10

The January 1 payment is for the first quarter of calendar year 2010, whilst the April 1 payment
is for the second quarter of calendar year 2010.

During the period for which                            Transformation cost for the Products will
remain fixed at current levels, Material costs will continue to be agreed monthly in accordance
with the MPLP process.

4.      For the avoidance of doubt, Flextronics shall submit and Nortel shall be responsible for
claims for Quarterly E&O generated by the SLR MEN Products in accordance with the terms of
the Settlement Agreement and Amending Agreement.

        [REST OF PAGE INTENTIONALLY LEFT BLANK - SIGNATURES FOLLOW]




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IN WITNESS WHIEREOF, the parties hereto, have signed this Wireline Manufacturing
Agreement, to be effective as of the Effective Date first above written, although actually signed
by the parties on the dates shown below their respective signatures.

NORTEL NETWORKS LIMITED                                FLEXTRONICS TELECOM
                                                       SYSTEMS, LTD.

By.                                                    By:

Name:                                                  Name:
Title:                                                 Title:

Date:                                                  Date:

                                                       FLEXTRONICS CORPORATION

                                                       By:
                                                       Name:
                                                       Title:

                                                       Date:


[atnd other Nortel and Flex entities as required]




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                                        2009
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                                             Schedule A

                                        SLR MEN Products

As of the Effective Date, the SLR MEN Products consist of the following Products manufactured
in Guadalajara:

OM3K:
NTN451 BA         OM 3500 LIF Left interface circuit pack
NTN45I1BH         0M3500 LIF Left interface circuit pack Hardened
NTN451HA          0M3500: 20A Power Module
NTN45I1MA         OM 3500 LOAM left OAM circuit pack
NTN451IMH         OM3500 LOAM left OAM circuit pack Hardened
NTN452AA          DSI 1-28 Top Front I/O Module
NTN452AH          DSI 1-28 Enhanced Front I/O Module
NTN4528A          DS1 1-28 Top Rear 1/O Module
NTN452CA          DSI 29-56 Top Front I/O Module
NTN452CH          DS1 29-56 Top Front I/O Module
NTN452DA          DSI 29-56 Top Rear I/O Module
NTN452EA          0S1 29-84 Top Front I/O Module
NTN452EH          OSI 29-84 Top Front I/O Module
NTN452FA          OSI 29-84 Top Rear I/O Module
NTN452HB          8 X - kJ45 Top Rear I/O Module
NTN452JA          BNC 12-port I/O Module
NTN452JH          BNC 12-port I/O Front Module
NTN452KA          BNC 12-port 1/O Rear Module
NTN452NA          8 X -RJ45 Top Front I/O Module
NTN452NH          8 X - RJ45 Top Front I/O Module
NTN458HB          0M3500: FAN FRONT EXHAUST
NTN458HC          OM 3500 Fan Module- Front Exhaust
NTN458HH          OM 3500 Fan Module
NTN458MW          0M3500 Power Module & Cooling Unit Upgrade Kit
NTN458QA          Optical Metro 3500 Fan Kit
NTN458QH          Optical Metro 3500 Fan Kit
NTN476AH          Optical Metro 3500 Universal Shelf Assembly Hardened




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                                          MEN Agreernent                             4
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Passport7/9K:

 NT0489AG         MSS7K
 NT0490AG         MSS7K
 NTBP07AG         MSS7K
 NTBP07BG         MSS7K
 NTBP07CG         MSS7K
 NTBP85AG         MSS7K
 NTEP14BG         MSS7K
 NTEP65BG         MSS7K
 NTEP66DG         MSS7K
 NTEP80AG         MSS7K
 NTEP81AG         MSS7K
 NTEP82AG         MSS7K
 NTHQ19AG         MSS7K
 NTJS20AG         MSS7K
 NTJS52BG         MSS7K
 NTJS53BG         MSS7K
 NTJS56BG         MSS7K
 NTJS62FG         MSS7K
 NTJS63EG         MSS7K
 NTJS64EG         MSS7K
 NTJS65DG         MSS7K
 NTJS66EG         MSS7K
 NTJS67EG         MSS7K
 NTJS74AG         MSS7K
 NTJV24CG         MSS7K
 NTJV32AG         MSS7K
 NTPS20AG         MSS7K
 NTPS20BG         MSS7K
 NTPS22AG         MSS7K
 NTNS40AA         MSS9K
 NTNS41AA         MSS9K




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                                 2009
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Passport 15K:

NTHR1 1EA
NTHR1 2EA
NTHR13EA
NTHR1 5EA
NTHW76EA
NTHR5071




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                                 2009  ~~Draftv.26
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